Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 1 of 215




   DECLARATION OF JEFFREY M. THEODORE IN SUPPORT OF
 PLAINTIFF’S OPPOSED MOTION FOR PRELIMINARY INJUNCTION
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 2 of 215




           Exhibit 1



                 Forbes




                              Exhibit 2

Forbes                                                         Forbes
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 3 of 215




                                  Exhibit 3




               Exhibit 4




Exhibit 5




                                                                    Exhibit 6



                                              Exhibit 7
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 4 of 215




                              Exhibit 8




                                                          Exhibit 9



                                                          Exhibit 10




               Exhibit 11




        Exhibit 12
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 5 of 215




               Exhibit 13




                                                      Exhibit 14




                            Exhibit 15




                                         Exhibit 16




Exhibit 17




                                         Exhibit 18
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 6 of 215




                               Exhibit 19




Exhibit 20




                                            Exhibit 21




                               Exhibit 22



                                                                  Exhibit 23



                           Exhibit 24
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 7 of 215




                          Exhibit 25



                                                Exhibit 26




   Exhibit 27




                                  Exhibit 28




                                       Jeffrey M. Theodore
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 8 of 215




                    EXHIBIT 1
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 9 of 215


                                                                                    San Francisco & New York

                                                                                  J. Noah Hagey, Esq.
                                                                                        Managing Partner
                                                                                   hagey@braunhagey.com

                                        February 12, 2021

VIA EMAIL

Daniel Barnes
CEO
Treaty Oak Distilling
16604 Fitzhugh Rd
Dripping Springs, TX 78620
Email: daniel@treatyoakdistilling.com

       Re:     Cease and Desist re. Planned Infringement of WATERLOO SPARKLING
               WATER® Trademark

Dear Mr. Barnes:

         We are litigation counsel to Waterloo Sparkling Water Corp. (“Waterloo”), proprietors of
the popular and extremely successful WATERLOO SPARKLING WATER® brand and
trademark (the “WATERLOO Mark”). We write to address Treaty Oak Distilling’s intentional
effort to mimic the trademark, trade dress and branding of Waterloo’s products in order to sell
confusingly similar hard seltzer drinks under the “Waterloo No. 9 Gin Spritz” brand (the
“Infringing Product”) represented as follows:

                        Waterloo Product           Infringing Product




        Because of the obvious and willful similarity of the Infringing Product to Waterloo’s
established products, our client already has received outreach from retail partners expressing
confusion and surprise over the Infringing Product’s prospective launch. Further, your actions
not only directly infringe Waterloo’s intellectual property, but also will put consumers and
children directly at risk when they accidentally drink an Infringing Product with alcohol. See 27



                                                                 San Francisco                        New York
                                                 351 California St., 10th Floor      7 Times Square, 27th Floor
                                                     San Francisco, CA 94104          New York, NY 10036-6524
                                                   Tel. & Fax: (415) 599-0210        Tel. & Fax: (646) 829-9403
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 10 of 215

February 12, 2021
Page 2


CFR §5.34(a) (prohibited misleading brand practices in advertising or selling alcoholic
beverages).

       Your actions also give rise to concerns arising from your direct ownership in Waterloo,
through which you have received confidential and non-public information regarding the
company’s plans, branding and success. The misuse of that information gives rise to concerns
regarding Treaty Oak’s intended effort to capitalize on Waterloo’s popular and well-known
brand and market relationships. Waterloo reserves the right to redress any misuse of its
confidential information, including as related to your stock ownership and proceeds from sale.

        For these and other reasons which follow, please be advised that Waterloo intends to
bring an immediate action to protect its intellectual property should Treaty Oak and its agents
and affiliates, including without limitation Spirited Cocktails and/or CANTEEN Spirits, fail to
promptly confirm they will cease and desist all infringing conduct.

       A.      Waterloo’s Distinctive Trademark and Trade Dress

       Because of your prior (and current) relationship with Waterloo, you are familiar with
Waterloo’s broad success.

        Waterloo’s sparkling water is one of the most popular and successful sparkling water
brands in the United States. Waterloo has grown into a beloved national brand. Its products are
sold in every state and in over 13,000 retailers nationwide. Waterloo’s design trademark,
distinctive trade dress, and fanciful, appealing design have been central to its success and
popularity along with the widespread recognition of its branding in the marketplace. Waterloo’s
refreshing beverages are especially popular with teenagers, young adults, and families with
children.

       Waterloo is the priority owner of a federal registration for its WATERLOO
SPARKLING WATER® design and trademark (U.S. Reg. No. 5356607), represented on its
multiple cans of sparkling water sold all across the United States:




       This WATERLOO Mark was issued in 2017 and obtained long before Treaty Oak ever
received registration for its purported Waterloo No. 9 Gin mark.
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 11 of 215

February 12, 2021
Page 3


        Waterloo has invested millions of dollars and years of effort to market, advertise, and
grow its brand and consumer goodwill. Waterloo’s can is prominently featured in nationwide
advertising campaigns, including on Facebook, Instagram, Twitter, YouTube, and other social
media. Its co-founders and products have been featured in news broadcasts touting its flavor,
healthfulness, and hometown Austin pride. As a result of its success in these efforts, Waterloo is
an exceptionally popular and ubiquitous national brand with highly distinctive trademarks and
trade dress.

       B.      Treaty Oak’s Copying of Waterloo’s Trademark and Trade Dress

        Your existing gin product has a distinctive trade dress and equally emphasizes
“WATERLOO,” “NO. 9”, and “GIN”. Your trademark for the “WATERLOO NO. 9 GIN” was
obtained in March 2020, almost three years after Waterloo’s mark registered in December 2017.
Further, your mark expressly limits its product to spirits, and includes a specimen that reflects
the following brand characteristics:




       Your new Infringing Product, however, aims to copy Waterloo’s distinctive and protected
mark and dress and mimics the color and flavor profiles of multiple Waterloo SKUs:

                       Waterloo Products          Infringing Products
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 12 of 215

February 12, 2021
Page 4




        These images clearly establish that the Infringing Product attempts to ride Waterloo’s
coattails by mimicking almost every aspect of Waterloo’s protected brand, including:

                    Large, brightly colored “WATERLOO” appearing in a serif, fanciful font.

                    Prominent ornamental banner with waving and curling ends.

                    Curving lines and tendrils.

                    Placement of a bold, all-caps flavor label centered on the bottom portion of
                    the can.

                    Same calorie and sugar claims in light colors on the upper lip of the can.

        The Infringing Product also abandons your actual trademark registration, which is limited
to the entire, coherent name “WATERLOO NO. 9 GIN”. In the images above, the product is
called “Gin Spritz” but only the name “WATERLOO” appears is emphasized and completely
disassociated from “No. 9”.
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 13 of 215

February 12, 2021
Page 5


       C.      The Infringing Product Will Confuse and Harm Consumers

        They say imitation is the sincerest form of flattery, and in that sense Treaty Oak’s
copying of the WATERLOO Mark and trade dress is awfully flattering. But the good feelings
stop when consumers are misled and put at risk by Treaty Oak’s infringing goods. The
Infringing Product packaging creates an unacceptable risk that consumers will be confused into
mixing up your alcoholic seltzer with Waterloo’s sparkling water. This is particularly true
because Waterloo is a nationally known brand, while consumers have never heard of an
alcoholic seltzer product from your company.

        For children, pregnant women, consumers with medical conditions, drivers, and others
who abstain from alcohol, the consequences of a mix-up could be disastrous and even fatal –
particularly where, as here, you are distributing and selling confusingly similar products without
the oversight and control of Waterloo’s management.

        Thankfully, laws exist to protect consumers, including alcoholic beverage licensing and
labeling laws which preclude misleading brand names:
               Misleading brand names. No label shall contain any brand name,
               which, standing alone, or in association with other printed or
               graphic matter, creates any impression or inference as to the age,
               origin, identity, or other characteristics of the product unless the
               appropriate TTB officer finds that such brand name (when
               appropriately qualified if required) conveys no erroneous
               impressions as to the age, origin, identity, or other characteristics
               of the product.
27 CFR §5.34(a).

        While Waterloo would prefer to work this out between neighbors, it cannot tolerate
dangerous infringing products targeted at its customers. If pressed into court, Treaty Oak’s
copying of Waterloo’s trade dress will give rise to liability for trademark and trade dress
infringement and unfair competition. See Taco Cabana Int'l, Inc. v. Two Pesos, Inc., 932 F.2d
1113, 1122 (5th Cir. 1991), aff'd, 505 U.S. 763 (1992); Xtreme Lashes, LLC v. Xtended Beauty,
Inc., 576 F.3d 221, 227 (5th Cir. 2009). Treaty Oak’s willful infringement (and misuse of
private information regarding Waterloo) also expose Treaty Oak to enhanced penalties include
treble damages and attorneys’ fees. 15 U.S.C. § 1117.

       Last, but not least, your conduct also exposes you to potential personal liability and
shareholder remedies related to your potential misuse of Waterloo’s confidential and non-public
corporate information in connection with the planned launch of the Infringing Product.

       Please confirm by no later than close of business on Wednesday, February 17, 2021 that
Treaty Oak will immediately comply with each of the following:
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 14 of 215

February 12, 2021
Page 6


                  (1)     Cease any production or manufacture of any Infringing Product or its
labels.

                  (2)     Not sell, offer to sell, advertise or otherwise distribute any Infringing
Product.

              (3)         Identify the location and quantity of all Infringing Product finished goods
and packaging.

               (4)    Contact each of Treaty Oak’s suppliers, co-manufacturers and distributors
to advise them regarding the issues set forth in this letter and to demand that they preserve and
not destroy any document or thing relating to the creation, marketing, or sale of the Infringing
Product.

                (5)     Provide our office with the name and contact information of any
distributor and retailer to whom you have pitched the Infringing Product.

        Additionally, please confirm that Treaty Oak, its agents and its affiliates (including
distributors and branding agents) will promptly institute a document preservation and litigation
hold on all documents, things, and electronically stored information related to the infringing
products or this dispute, including but not limited to information on your personal or business
email, cell phones, chat applications, cloud storage devices and other repositories.

          All rights, claims, etc. reserved.

                                               Very truly yours,



                                                J. Noah Hagey


Cc:       Brandon Cason, Spirited Cocktails / CANTEEN Spirits
          (via Email, brandon@drinkcanteen.com)
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 15 of 215




                    EXHIBIT 2
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 16 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 17 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 18 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 19 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 20 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 21 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 22 of 215




                    EXHIBIT 3
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 23 of 215


From:            Jeffrey Theodore
To:              Bagdady, Justin; Noah Hagey
Cc:              Toby Rowe
Subject:         RE: Waterloo / Treaty Oak
Date:            Friday, February 19, 2021 4:37:00 PM


Justin,

Thanks for chatting this morning. We appreciate your representations that Treaty Oak will not
proceed with the Gin Spritz beverage that is the subject of our cease and desist letter and
Complaint, further participate in any partnership with Brandon Cason or Spirited Cocktails to
manufacture an alcoholic seltzer, or take any further steps to produce or market an alcoholic seltzer
beverage until this matter is resolved.

That said, Treaty Oak and Spirited Cocktails’ marketing efforts have already created confusion in the
market among Waterloo’s retail partners and potential or actual placements for a new alcoholic
seltzer product on behalf of Treaty Oak and Spirited Cocktails. Waterloo has incurred significant legal
expense and has had to address retail partners coming to it confused about a new alcoholic seltzer
product bearing its name. As a result, Waterloo wants to understand what happened here and
needs to be able to take steps to mitigate the effect of any infringement, including the confusion
that has already arisen in the market. Yet we still have not received answers to the questions in
Noah’s letter of last Friday. Accordingly, by Monday please provide us the following information:

    1. The names, locations, and contact information of all distributors, retailers, or others to whom
       Treaty Oak/Spirited Cocktails have marketed the infringing product.
    2. Whether Treaty Oak and Spirited Cocktails have entered into any relationships or agreements
       with distributors, co-packers, or other third parties regarding the infringing product.
    3. The quantity of infringing product that has been produced, including how many cans have
       been printed and the volume of liquid put in cans.
    4. Where the infringing product is stored.
    5. Whether and to whom any samples have been offered.

While we appreciate your assurances that the current infringement is not continuing, your email and
conversation this morning failed to confirm that Treaty Oak will not attempt to trade off Waterloo’s
name and brand equity in the seltzer space going forward. Our client is concerned that Treaty Oak
will pivot to a different design that continues to encroach on our brand equity, extends Treaty Oak’s
use of WATERLOO NO. 9 GIN outside its existing use in class 33 to Waterloo’s territory in class 32,
and takes advantage of the existing infringement by which Treaty Oak and Spirited Cocktails have
already marketed their seltzer product to distributors and retailers using Waterloo’s name and trade
dress.

Waterloo is happy to discuss a commercial resolution that respects Treaty Oak’s existing use of
WATERLOO NO. 9 GIN for spirits in Class 33 but needs better information and further assurances
that that Treaty Oak will not attempt to expand into sparkling beverages under the WATERLOO
name. As Treaty Oak and Spirited Cocktails’ recent conduct and marketing demonstrate, including
the recent Forbes article, any such effort would leverage Waterloo’s WATERLOO SPARKLING WATER
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 24 of 215


brand equity, not Treaty Oak’s gin brand. If that is not a path that Treaty Oak is interested in, we will
need to continue to pursue our legal remedies, including the existing action. In that event, please let
us know whether you will be handling the litigation and can accept service of the Complaint.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN              LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Thursday, February 18, 2021 9:01 AM
To: Noah Hagey <hagey@braunhagey.com>
Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

I only represent the Treaty Oak entities. I may end up representing others, but as I’m sure you
can appreciate it’s all still getting sorted out.

If you want to set up a call that is fine with me. As I’m still new to this situation I don’t really
have much to report other than what is in my email from yesterday. But if you want to have a
call to touch base that’s fine.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Noah Hagey <hagey@braunhagey.com>
Sent: Thursday, February 18, 2021 8:37 AM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

Counsel,

Thanks for the response. Your email was caught in our spam filter.
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 25 of 215



Given the urgency at hand, Waterloo filed its complaint yesterday in the WD Texas. Attached is a
courtesy copy for your records.

Based on your response below, I am hopeful we can work promptly to address Waterloo’s concerns
and hopefully resolve the matter.

Please also let us know whether you also represent co-defendant Brandon Cason and Spirited
Cocktails / Canteen Cocktails. As noted in the complaint and our letter, Mr. Cason and his company
are working with Treaty Oak, and Mr. Cason separately has been publicizing his alleged ongoing role
with Waterloo, including on LinkedIn and in a highly inaccurate and damaging Forbes article
published this week. Both Mr. Cason and Mr. Barnes were terminated from Waterloo a long time
ago and need to cease their efforts to usurp Waterloo’s goodwill, which includes ceasing efforts to
insinuate an ongoing affiliation with our client’s business and brand.

I look forward to discussing these matters at your convenience this afternoon. Regards,

Noah

J. Noah Hagey
Managing Partner
BRAUNHAGEY & BORDEN                   LLP

Direct: (415) 599-0211
Cell: (510) 332-7823

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recipient, please contact me immediately at the phone number listed above and permanently delete the original message and
any copies thereof from your email system. Thank you.




From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, February 17, 2021 11:44 AM
To: Noah Hagey <hagey@braunhagey.com>
Subject: Waterloo / Treaty Oak

Mr. Hagey,

I have been retained by Treaty Oak Distilling and I am in receipt of your letter to Mr. Barnes
dated February 12. I just received this today and so am still getting up to speed to some
extent. I can, though, report that without admitting any of the allegations set forth in your
letter with respect to alleged infringement, and while reserving all rights, Treaty Oak will be
redesigning the cans in question. I can also report that none of these cans have yet gone to
market, indeed as things stand none of the cans that do exist have even been filled with
product. So there have been no sales, and Treaty Oak agrees that it will not sell any of these
goods in the can design shown in your letter. My client is working on a redesign as we speak.
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 26 of 215


As noted above I am still getting up to speed on this to some extent but if you wish to set up a
time to discuss please let me know. To that end, please send future correspondence relating to
this matter to my attention on behalf of Treaty Oak. My contact information is listed below.
This email is a settlement communication subject to FRE 408.

Thank you.

Justin

Justin P. Bagdady
201 South Division Street | Suite 400 | Ann Arbor MI 48104
o: 734-930-2727 | JBagdady@BODMANLAW.COM

| Bio | vCard |    binclusive

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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 27 of 215




                    EXHIBIT 4
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 28 of 215


From:                    Bagdady, Justin
To:                      Jeffrey Theodore; Noah Hagey
Cc:                      Toby Rowe
Subject:                 RE: Waterloo / Treaty Oak
Date:                    Wednesday, February 24, 2021 5:56:26 AM


Hi Jeff,

There isn’t much to say on top of what was in last night’s email to you from counsel for SCC.
SCC was leading those efforts and is the party in the best position to answer those questions.
To be clear, Treaty Oak has no agreements with any distributors, retailers, co-packers, or any
other third party with respect to the “infringing product,” did not offer samples to any party
other than SCC, and does not have any product in its possession. It has not sold any. As
noted, the proposed agreement with SCC has been called off altogether.

One point I will clarify after discussing further with my client. As you know, Treaty Oak has
an existing registration for WATERLOO NO. 9 GIN in Class 33. Class 33 includes alcoholic
beverages and pre-mixed alcoholic beverages other than beer-based. Class 32 does not
include alcoholic beverages other than beer. While my client is agreeable the idea of a co-
existence agreement, which is a concept that I think makes a good amount of sense as part of a
resolution between our clients, it would have to be consistent with my client’s existing rights
under Class 33. That includes preserving my client’s right to use its mark on a ready to drink
pre-mixed cocktail product. That is a product my client is still interested in pursuing. It
would be independent of SCC or Mr. Cason and use trade dress that is completely different
from what is shown in your complaint. This is not something that is in production, and no
agreements are in place. But preserving those rights will be a sticking point for Treaty Oak. I
do think it is something we ought to be able to hash out in the context of negotiating a
coexistence agreement, but welcome your thoughts and ideas. This information is being
provided for purposes of facilitating settlement discussions, only.

Settlement Communication – Subject to FRE 408

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


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ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Tuesday, February 23, 2021 11:30 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Noah Hagey <hagey@braunhagey.com>
Cc: Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

Justin,
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 29 of 215


While we have heard back from counsel for Cason and Spirited, we have not received any response
from Treaty Oak or Barnes. Please let us know whether Treaty Oak is interested providing the
information requested below and in a commercial resolution of this matter or whether we need to
move forward with litigation and expedited discovery.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
Sent: Friday, February 19, 2021 4:38 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Noah Hagey <hagey@braunhagey.com>
Cc: Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

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proceed with the Gin Spritz beverage that is the subject of our cease and desist letter and
Complaint, further participate in any partnership with Brandon Cason or Spirited Cocktails to
manufacture an alcoholic seltzer, or take any further steps to produce or market an alcoholic seltzer
beverage until this matter is resolved.

That said, Treaty Oak and Spirited Cocktails’ marketing efforts have already created confusion in the
market among Waterloo’s retail partners and potential or actual placements for a new alcoholic
seltzer product on behalf of Treaty Oak and Spirited Cocktails. Waterloo has incurred significant legal
expense and has had to address retail partners coming to it confused about a new alcoholic seltzer
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that has already arisen in the market. Yet we still have not received answers to the questions in
Noah’s letter of last Friday. Accordingly, by Monday please provide us the following information:

       1. The names, locations, and contact information of all distributors, retailers, or others to whom
          Treaty Oak/Spirited Cocktails have marketed the infringing product.
       2. Whether Treaty Oak and Spirited Cocktails have entered into any relationships or agreements
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 30 of 215


          with distributors, co-packers, or other third parties regarding the infringing product.
       3. The quantity of infringing product that has been produced, including how many cans have
          been printed and the volume of liquid put in cans.
       4. Where the infringing product is stored.
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While we appreciate your assurances that the current infringement is not continuing, your email and
conversation this morning failed to confirm that Treaty Oak will not attempt to trade off Waterloo’s
name and brand equity in the seltzer space going forward. Our client is concerned that Treaty Oak
will pivot to a different design that continues to encroach on our brand equity, extends Treaty Oak’s
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brand equity, not Treaty Oak’s gin brand. If that is not a path that Treaty Oak is interested in, we will
need to continue to pursue our legal remedies, including the existing action. In that event, please let
us know whether you will be handling the litigation and can accept service of the Complaint.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN               LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Thursday, February 18, 2021 9:01 AM
To: Noah Hagey <hagey@braunhagey.com>
Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

I only represent the Treaty Oak entities. I may end up representing others, but as I’m sure you
can appreciate it’s all still getting sorted out.

If you want to set up a call that is fine with me. As I’m still new to this situation I don’t really
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 31 of 215


have much to report other than what is in my email from yesterday. But if you want to have a
call to touch base that’s fine.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Noah Hagey <hagey@braunhagey.com>
Sent: Thursday, February 18, 2021 8:37 AM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo / Treaty Oak

Counsel,

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courtesy copy for your records.

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and hopefully resolve the matter.

Please also let us know whether you also represent co-defendant Brandon Cason and Spirited
Cocktails / Canteen Cocktails. As noted in the complaint and our letter, Mr. Cason and his company
are working with Treaty Oak, and Mr. Cason separately has been publicizing his alleged ongoing role
with Waterloo, including on LinkedIn and in a highly inaccurate and damaging Forbes article
published this week. Both Mr. Cason and Mr. Barnes were terminated from Waterloo a long time
ago and need to cease their efforts to usurp Waterloo’s goodwill, which includes ceasing efforts to
insinuate an ongoing affiliation with our client’s business and brand.

I look forward to discussing these matters at your convenience this afternoon. Regards,

Noah

J. Noah Hagey
Managing Partner
BRAUNHAGEY & BORDEN                    LLP

Direct: (415) 599-0211
Cell: (510) 332-7823

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         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 32 of 215


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recipient, please contact me immediately at the phone number listed above and permanently delete the original message and
any copies thereof from your email system. Thank you.




From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, February 17, 2021 11:44 AM
To: Noah Hagey <hagey@braunhagey.com>
Subject: Waterloo / Treaty Oak

Mr. Hagey,

I have been retained by Treaty Oak Distilling and I am in receipt of your letter to Mr. Barnes
dated February 12. I just received this today and so am still getting up to speed to some
extent. I can, though, report that without admitting any of the allegations set forth in your
letter with respect to alleged infringement, and while reserving all rights, Treaty Oak will be
redesigning the cans in question. I can also report that none of these cans have yet gone to
market, indeed as things stand none of the cans that do exist have even been filled with
product. So there have been no sales, and Treaty Oak agrees that it will not sell any of these
goods in the can design shown in your letter. My client is working on a redesign as we speak.

As noted above I am still getting up to speed on this to some extent but if you wish to set up a
time to discuss please let me know. To that end, please send future correspondence relating to
this matter to my attention on behalf of Treaty Oak. My contact information is listed below.
This email is a settlement communication subject to FRE 408.

Thank you.

Justin

Justin P. Bagdady
201 South Division Street | Suite 400 | Ann Arbor MI 48104
o: 734-930-2727 | JBagdady@BODMANLAW.COM

| Bio | vCard |    binclusive

bodman
ATTORNEYS & COUNSELORS


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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 33 of 215




                    EXHIBIT 5
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 34 of 215


From:               Jeffrey Theodore
To:                 Bagdady, Justin
Cc:                 Noah Hagey
Subject:            RE: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.
Date:               Wednesday, February 24, 2021 3:25:00 PM


Justin,

Thanks for the call this morning and for confirming that Treaty Oak is not currently launching and
does not plan to launch a hard seltzer, spritz, or other can-based product while the Parties’
discussions are ongoing. We look forward to hearing back from you after further discussion with
your clients.

In the interim, we have received information from Spirited/Canteen about its efforts to promote the
Waterloo No. 9 Gin Spritz product but have not heard anything from your client. Please provide us
the following information so that Waterloo can make all efforts to mitigate its damages and
eliminate the confusion in the marketplace:

       1. The names, locations, and contact information of all distributors, retailers, or others to whom
          Treaty Oak has marketed the infringing product.
       2. Whether Treaty Oak has entered into any relationships or agreements with distributors, co-
          packers, or other third parties regarding the infringing product.
       3. The quantity of infringing product that has been produced, including how many cans have
          been printed and the volume of liquid put in cans.
       4. Where the infringing product is stored.
       5. Whether and to whom any samples have been offered.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                    LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, February 24, 2021 5:29 AM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Rad Wood <rwood@velawoodlaw.com>
Cc: Noah Hagey <hagey@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>; Pete Kennedy
<pkennedy@gdhm.com>; Jeff Villalobos <jvillalobos@velawoodlaw.com>
Subject: RE: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 35 of 215



9 Pacific is ok for me.


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Tuesday, February 23, 2021 10:00 PM
To: Rad Wood <rwood@velawoodlaw.com>
Cc: Noah Hagey <hagey@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>; Pete Kennedy <pkennedy@gdhm.com>; Jeff Villalobos
<jvillalobos@velawoodlaw.com>
Subject: RE: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.

Thanks Rad. Justin and Pete, please let us know if those times work for you.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Rad Wood <rwood@velawoodlaw.com>
Sent: Tuesday, February 23, 2021 5:43 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>
Cc: Noah Hagey <hagey@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>;
JBagdady@bodmanlaw.com; Pete Kennedy <pkennedy@gdhm.com>; Jeff Villalobos
<jvillalobos@velawoodlaw.com>
Subject: Re: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.

Jeff--

My apologies for the delay. I have a deadline tomorrow in an asylum case I am working and that has
taken much of my day. I will get you this information either by the end of the night or first thing
tomorrow morning. I can do 9am PST for a call tomorrow, and also 4pm PST. Let me know which
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 36 of 215


time works best for you -- Justin and Pete feel free to jump in here with a time that works for you all
as well.


Radney Wood
Partner


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512.813.7300 (o)
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contents. Thank you.



On Tue, Feb 23, 2021 at 3:23 PM Jeffrey Theodore <Theodore@braunhagey.com> wrote:
  Rad,

  Thanks for getting back to me. We look forward to receiving the information and are available to
  chat this afternoon after 3 PM PT or tomorrow at 9 AM PT or after 330 PM PT.

  Thanks,

  Jeff




  Jeffrey M. Theodore
  BRAUNHAGEY & BORDEN              LLP

  Direct: (415) 599-0219




  From: Rad Wood <rwood@velawoodlaw.com>
  Date: Tuesday, February 23, 2021 at 11:10 AM
  To: Jeffrey Theodore <Theodore@braunhagey.com>
  Cc: Noah Hagey <hagey@braunhagey.com>, Toby Rowe <rowe@braunhagey.com>,
  JBagdady@bodmanlaw.com <JBagdady@bodmanlaw.com>, Pete Kennedy
  <pkennedy@gdhm.com>, Jeff Villalobos <jvillalobos@velawoodlaw.com>
  Subject: Re: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 37 of 215


Jeff--

I'm working on getting you this additional information. We'd be happy to chat with you on these
requests later today or tomorrow, as well. I should have this information to you later today.

Rad


Radney Wood
Partner

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On Mon, Feb 22, 2021 at 8:15 PM Jeffrey Theodore <Theodore@braunhagey.com> wrote:
  Rad,

  We too would like to move forward with a swift and simple settlement of this matter and are
  not (yet) asking for reimbursement of our attorneys’ fees. However, the efforts of your clients
  and of Treaty Oak so far have caused significant confusion in the market and disruption to my
  client. In order to mitigate that as much as possible, we need some basic information, which
  Noah requested two weeks ago and which was detailed in my email below.

  Your assurance that “no product was ever produced, canned, marketed, or sold” (emphasis
  added), while appreciated, appears to refer to the liquid itself and does not answer our
  questions about retailers and others to whom the Waterloo Gin Spritz was marketed,
  agreements with distributors or other third parties, how many cans have been printed, where
  they are stored, and whether sample cans have been offered. Waterloo needs this information
  so that it can clarify the record and quell any confusion in the marketplace. Please provide this
  information by the end of the day tomorrow so that we do not need to move for expedited
  discovery.

  Let’s have a call tomorrow to discuss next steps. If necessary we can also discuss service of the
  summons (attached) but let’s see how the discussion goes.

  Thanks,
 Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 38 of 215


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Rad Wood <rwood@velawoodlaw.com>
Sent: Monday, February 22, 2021 1:56 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>
Cc: Noah Hagey <hagey@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>;
JBagdady@bodmanlaw.com; Pete Kennedy <pkennedy@gdhm.com>; Jeff Villalobos
<jvillalobos@velawoodlaw.com>
Subject: Rule 408 Communication: Waterloo v. Spirited Cocktails Corporation et al.

Jeff--

Thanks for following up on this. To be clear, as I stated in my previous email, my clients disagree
with your client's allegations and do not believe their actions constituted infringement. My
clients are moving away from using the proposed traded dress simply because they do not want
to fight with Waterloo Sparkling Water on this issue. Given the existing relationships between
the parties, we think it better to move in a different direction. That is all.

And while your client may have incurred legal expenses, that was its choice. They could have
just as easily have picked up the phone and called my clients and expressed their concern that
way; the result would have been the same. In fact, the reason your client discovered the trade
dress at issue was that my clients, believing your client was fine with the proposed product,
shared images of the trade dress with a member of your client's leadership team; this is not the
action of parties that are seeking to harm your client.

We would like to move forward with a swift and simple settlement to this matter, but to the
extent that Waterloo Sparkling Water is suggesting that my clients pay its legal expenses, please
understand that we will not be covering any attorneys' fees related to your client's actions. The
law considers Waterloo Sparkling Water distinct from the other Class 032 and 033 Waterloos
and the issues in this matter resulted from a misunderstanding between individuals who have
ongoing working relationships. It is unlikely the law or the facts would result in this being an
exceptional case warranting attorney’s fees, especially given my clients’ immediate agreement
to not use the trade dress at issue.

As to your questions below, I thought I answered them in my previous email when I stated that
no product was ever produced, canned, marketed, or sold. Because none was produced, none
is being stored, none was given out as samples, and no amount exists anywhere.

I am writing this response on behalf of my clients only, but am copying the attorneys for the
other defendants in an effort to streamline communications about this matter.

We look forward to hearing back from you and working toward a resolution.
 Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 39 of 215



Rad


Radney Wood
Partner


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disclosing the contents. Thank you.



On Fri, Feb 19, 2021 at 6:43 PM Jeffrey Theodore <Theodore@braunhagey.com> wrote:
  Dear Rad,

  Thanks for speaking yesterday and for confirming that your clients will not make any
  further use of the WATERLOO name. We look forward to working with you on a
  resolution of this matter and the pending litigation.

  That said, Spirited Cocktails and Treaty Oak’s marketing efforts have already created
  confusion in the market among Waterloo’s retail partners and potential or actual placements
  for the infringing alcoholic seltzer product. Waterloo has incurred significant legal expense
  and has had to address retail partners coming to it confused about a new alcoholic seltzer
  product bearing its name. As a result, Waterloo wants to understand what happened here
  and needs to be able to take steps to mitigate the effect of any infringement, including the
  confusion that has already arisen in the market. Yet we still have not received answers to the
  questions in Noah’s letter of last Friday. Accordingly, by Monday please provide us the
  following information:


      1. The names, locations, and contact information of all distributors, retailers, or others to
         whom Spirited Cocktails/Treaty Oak have marketed the infringing product.
      2. Whether Spirited Cocktails and Treaty Oak have entered into any relationships or
         agreements with distributors, co-packers, or other third parties regarding the
         infringing product.
      3. The quantity of infringing product that has been produced, including how many cans
         have been printed and the volume of liquid put in cans.
      4. Where the infringing product is stored.
      5. Whether and to whom any samples have been offered.

  We look forward to a commercial resolution by which your clients acknowledge Waterloo’s
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 40 of 215


rights and desist from use of the Waterloo name and need the information described above
to mitigate the existing damage to our brand.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN            LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
Sent: Thursday, February 18, 2021 12:58 PM
To: rwood@velawoodlaw.com
Cc: Noah Hagey <hagey@braunhagey.com>; Toby Rowe <rowe@braunhagey.com>
Subject: RE: Waterloo v. Spirited Cocktails Corporation

Rad,

We appreciate the email and the representations below. Just left you a voice message. We
should connect about resolving this matter and memorializing the path forward for both
sides here.

Regards,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN            LLP

Direct: (415) 599-0219




       From: Rad Wood <rwood@velawoodlaw.com>
       Date: February 18, 2021 at 10:49:58 AM PST
       To: Noah Hagey <hagey@braunhagey.com>
       Subject: Waterloo v. Spirited Cocktails Corporation


       Mr. Hagey--
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 41 of 215


     My firm represents Brandon Cason and Spirited Cocktails Corporation. I am in
     receipt of your letter to Treaty Oak Distilling dated February 12, 2021, your
     letter to Forbes dated February 17, 2021, as well as a copy of the lawsuit that
     Waterloo Sparkling Water filed yesterday against Treaty Oak Distilling, Daniel
     Barnes, Spirited Cocktails Corporation, and Brandon Cason.

     While we do not agree with the allegations contained in the above-referenced
     documents and dispute all claims you have made, my clients have no desire to
     continue any conduct that Waterloo Sparkling Water disagrees with regarding
     the Treaty Oak Distilling Waterloo No. 9 Gin product.

     As such, I am writing to inform you that no Waterloo No.9 Gin products were
     ever manufactured, produced, or sold and that my client Spirited Cocktails
     Corporation has decided not to move forward with its proposed relationship
     with Treaty Oak Distilling. Furthermore, I can assure you that we will not
     market, sell, manufacture, or in any way be involved in any product with the
     name Waterloo in the future. Instead, we are moving forward with a Canteen
     Gin Spritz product.

     As to your allegations regarding the inaccuracies in the Forbes article, we have
     reached out to Forbes to update the article to address your concerns. My
     client's quotes regarding his personal mixing of Waterloo Sparkling Water with
     Deep Eddy at home as his inspiration for Canteen was taken out of context and
     we are removing the references to the Waterloo No. 9 Gin Spritz, which, as I
     stated above, we will not move forward with. As to my client's LinkedIn
     account, I can assure you this was an innocent oversight; many people fail to
     update old jobs on LinkedIn. He has now updated his LinkedIn account to
     include his end date with Waterloo Sparkling Water.

     I do want to emphasize that my clients wish nothing but the best for Waterloo
     Sparkling Water. Mr. Cason, as a current shareholder, and former co-founder,
     wants the brand to succeed and would never do anything that would harm the
     value he helped create.

     I called your office earlier but got your voicemail. If you are available, I would be
     happy to hop on a call to discuss these issue in further detail and hopefully
     come to a swift resolution.


     Thank you,

     Rad


     Radney Wood
     Partner
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 42 of 215




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                    EXHIBIT 6
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 44 of 215


From:             Jeffrey Theodore
To:               Kornfield, Susan; Noah Hagey
Cc:               Bagdady, Justin; Heather Schneider; Ryan Botkin
Subject:          RE: Proposed Resolution
Date:             Monday, March 15, 2021 8:26:00 PM
Attachments:      Waterloo v Treaty Oak et al - Stipulated Injunction.docx




Counsel,

We have had a chance to discuss your email and your new positions with our client.

As you probably anticipated, there was not much here to evaluate, and most of the facts you
recount are demonstrably incorrect. The suggested terms also are quite different than what Mr.
Bagdady communicated on prior occasions, including just days before your email. Then, he
indicated that Treaty Oak was moving away from the Waterloo concept in RTD, but sought some
limited right to use the term as a source of origin designation.

In light of your email, we are providing notice of Waterloo’s intention to seek a preliminary
injunction regarding defendants’ product named in the suit. Attached is the form of injunction we
intend to seek and urge you to consider stipulating to its entry. The language conforms to what
defendants already have agreed to regarding the withdrawal of the infringing products and
termination of the campaign.

If we cannot agree to an injunction along the lines of the attached, we will need to formally move
the court for its entry and seek additional discovery.

We are available to meet and confer Tuesday at 4pm CT and Wednesday at 2pm CT.

Regards,


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                  LLP

Direct: (415) 599-0219



From: Kornfield, Susan <SKornfield@BODMANLAW.COM>
Sent: Tuesday, March 9, 2021 1:47 PM
To: Noah Hagey <hagey@braunhagey.com>
Cc: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Jeffrey Theodore
<Theodore@braunhagey.com>; Heather Schneider <HSchneider@willkie.com>
Subject: Proposed Resolution

Dear Mr. Hagey:
Based upon our investigation of the facts of this matter, we propose the following resolution
of the dispute. In particular, our framework is based upon the following considerations:
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 45 of 215


   1. By 2017, when your client was formed, my client had been using the trademarks
      WATERLOO and WATERLOO No. 9 for at least 5 years. After some discussion, my client
      agreed to allow your client to use the term “Waterloo” in its company name, and to use
      the term WATERLOO SPARKLING WATER as its product name, solely for sparkling water.
       My client did not agree to allow your client to expand the use of the mark. My client
      did not agree to limit its use of its name and trademark, other than for sparkling water.
   2. Your client can claim no rights, trademark or otherwise, in descriptive colors used in its
      product packaging. Purple for grape, red for strawberry, green for lime, and so on.
   3. Your client has no registered trade dress.
   4. My client has sold no products in connection with the trade dress about which your
      client complains. My client does not intend to sell products in connection with the
      trade dress about which your client complains. My client agrees to enter into a
      stipulation representing it will not sell products in connection with the trade dress about
      which your client complains.
   5. My client is also willing to undertake reasonable efforts to address any confusion that
      may have been caused by SCC’s promotional activities. We also understand SCC has
      already undertaken such efforts and will continue to do so as needed.
   6. My client will agree to resolve this matter by entering into a stipulated order and
      settlement agreement that reflect points 4 and 5. As part of the agreement, the lawsuit
      would be dismissed with prejudice with the Court retaining jurisdiction.
We assume that you do not intend to subject your client to a trademark registration
cancellation proceeding. Accordingly, we assume you are not contending that your client’s
sparkling water product cannot co-exist with my client’s products that contain alcohol.
We look forward to hearing from you.
Regards,
Susan Kornfield
Susan M. Kornfield
Also Admitted in Illinois
BODMAN PLC
Suite 400
201 South Division Street
Ann Arbor, Michigan 48104
office: 734-930-2488
email: skornfield@bodmanlaw.com
My biography on bodmanlaw.com
Pronouns: she/her/hers

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                                            PRIVILEGED AND CONFIDENTIAL
                                                                Draft 2/25/2021
                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

WATERLOO SPARKLING WATER        §
CORP.,                          §                Civil Action No. 1:21-CV-161-RP
                                §
    Plaintiff,                  §
                                §                JURY TRIAL DEMANDED
            v.                  §
                                §
TREATY OAK BREWING AND          §
DISTILLING CO., LLC, TREATY OAK §
BRANDS, LLC, TREATY OAK         §
OPERATIONS, LLC, TREATY OAK     §
HOLDINGS, LLC, SPIRITED         §
COCKTAILS CORPORATION, DANIEL §
BARNES, and BRANDON CASON,      §
                                §
    Defendants.                 §
                                §


                    JOINT AGREED PRELIMINARY INJUNCTION ORDER
       Plaintiff Waterloo Sparkling Water Corp. (“Waterloo”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC, Spirited Cocktails Corporation, Daniel Barnes, and Brandon Cason

(collectively, “Defendants”), appearing through and represented by each’s undersigned counsel,

hereby stipulated to the following Joint [Proposed] Preliminary Injunction Order:

       WHEREAS, on February 17, 2021 Plaintiff Waterloo filed this action against

Defendants for trademark infringement, false designation of origin, trade dress infringement,

unfair competition, declaratory relief, and unjust enrichment under federal and state law.
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 47 of 215



       WHEREAS, Waterloo is the owner of a federally registered mark WATERLOO

SPARKLING WATER and Design (U.S. Reg. No. 5356607), associated common law trademark

rights and related trade dress shown below (the “WATERLOO IP”) in connection with the sale

of its products since at least 2017:




       WHEREAS, in 2021, Defendants developed, marketed, promoted, and sought to launch

a “Waterloo No. 9 Gin Spritz” product (the “GIN SPRITZ PRODUCT”) in a ready-to-drink can

format with the following packaging, by way of example:




       WHEREAS, Waterloo notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the GIN SPRITZ PRODUCT or any related

beverage product infringing or resembling the WATERLOO IP.

       WHEREAS, in response to the Complaint and Waterloo’s intended motion for

preliminary injunction, Defendants each represented that, in addition to other relief, they would

immediately halt, cease and desist any promotion, marketing, sale or distribution of the GIN

SPRITZ PRODUCT.

       WHEREAS, Waterloo seeks to memorialize Defendants’ representations into a binding

order so as to avoid any uncertainty regarding Defendants’ conduct during the pendency of this



                                               -2-
           Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 48 of 215



litigation, without prejudice to or waiver of any party’s claims, defenses, arguments or positions

in the litigation itself.

        WHEREAS, this Court has authority to issue a preliminary injunction pursuant to Fed.

R. Civ. P. 65 and Lanham Act § 34, 15 U.S.C. § 1116.

        NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

        1.       Each Defendant and its respective officers, directors, employees, agents,

corporate parents, subsidiaries, affiliates, and distributors, is restrained and enjoined, during the

pendency of this action from directly or indirectly:

                 a.         Marketing, promoting, selling, offering, distributing, manufacturing,

purchasing, importing, advertising, or otherwise republishing the GIN SPRITZ PRODUCT or

any similar ready-to-drink beverage product prominently bearing the WATERLOO name.

                 b.         Instructing, aiding, abetting, or acquiescing in any other person or

business entity’s conduct that would violate Paragraph 1(a) above.

        2.       Each Defendant shall confirm to Waterloo that it has removed all promotions,

marketing and/or advertisements of the GIN SPRITZ PRODUCT from any and all websites,

promotional decks, advertisements, stores, events, and other advertising locations within its

direct or indirect control and shall refrain from such advertising during the pendency of this

lawsuit.

        3.       Each Defendant shall provide Waterloo the name and contact information (if

known) of each person who received or made any communication, document or thing regarding

the GIN SPRITZ PRODUCT, and the date such event(s) occurred.




                                                    -3-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 49 of 215



       4.      Within five (5) business days following the entry of this Order, each Defendant

shall serve notice on Plaintiff certifying Defendant’s compliance with all terms of the Order.

       5.      This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion

by an interested party hereto.

       6.      The Court shall retain jurisdiction over the subject matter and the parties to

enforce the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                             _______________________________
                                                     The Honorable Robert Pitman
                                                     United States District Judge




                                               -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 50 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 51 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


DANIEL BARNES


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


SPIRITED COCKTAILS CORPORATION


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________



BRANDON CASON


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 52 of 215




                    EXHIBIT 7
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 53 of 215


From:                  Noah Hagey
To:                    Kornfield, Susan
Cc:                    Jeffrey Theodore; Bagdady, Justin; Heather Schneider; Ryan Botkin
Subject:               PI motion
Date:                  Monday, March 22, 2021 7:31:42 AM


Counsel,

It has now been a week. We believe the draft PI order accurately captures what defendants
have represented and, if not, would only heighten our need to proceed with the motion. Please
let us know by close of business whether you agree with the stipulation and, if not, the
material terms you object to. Thanks,

Noah

J. Noah Hagey
BraunHagey & Borden LLP
hagey@braunhagey.com
Office (415) 599-0211
Cell (510) 332-7823


       On Mar 17, 2021, at 9:59 AM, Kornfield, Susan <SKornfield@bodmanlaw.com>
       wrote:




       Thank you for your email and attachment, received yesterday. We are preparing
       an updated version that we expect will be more accurate and neutral, will be
       consistent with the undertaking my client has already expressed, and will avoid
       unnecessary adversarial proceedings with the Court. Especially for something
       that should be so simple in a case such as this.




       Susan M. Kornfield
       734-930-2488
       SKornfield@BODMANLAW.COM


       bodman
       ATTORNEYS & COUNSELORS




       From: Jeffrey Theodore <Theodore@braunhagey.com>
       Sent: Monday, March 15, 2021 11:26 PM
       To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Noah Hagey
       <hagey@braunhagey.com>
       Cc: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Heather Schneider
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 54 of 215


<HSchneider@willkie.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Proposed Resolution


Counsel,

We have had a chance to discuss your email and your new positions with our client.

As you probably anticipated, there was not much here to evaluate, and most of the
facts you recount are demonstrably incorrect. The suggested terms also are quite
different than what Mr. Bagdady communicated on prior occasions, including just days
before your email. Then, he indicated that Treaty Oak was moving away from the
Waterloo concept in RTD, but sought some limited right to use the term as a source of
origin designation.

In light of your email, we are providing notice of Waterloo’s intention to seek a
preliminary injunction regarding defendants’ product named in the suit. Attached is
the form of injunction we intend to seek and urge you to consider stipulating to its
entry. The language conforms to what defendants already have agreed to regarding the
withdrawal of the infringing products and termination of the campaign.

If we cannot agree to an injunction along the lines of the attached, we will need to
formally move the court for its entry and seek additional discovery.

We are available to meet and confer Tuesday at 4pm CT and Wednesday at 2pm CT.

Regards,


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 55 of 215




                    EXHIBIT 8
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 56 of 215


From:              Kornfield, Susan
To:                Noah Hagey
Cc:                Jeffrey Theodore; Bagdady, Justin; "Heather Schneider"; "Ryan Botkin"; "Pete Kennedy"; "Cleve Burke"; "Rick
                   Harrison"; "Rad Wood"
Subject:           RE: PI motion
Date:              Monday, March 22, 2021 8:32:59 AM
Attachments:       Waterloo v Treaty Oak et al - Stipulated Injunction 3.21.1.docx



Attached is the proposed stip, revised for accuracy.

While we do not represent all defendants, we think this document may very well be accepted
by all defendants.

Regards.

From: Noah Hagey <hagey@braunhagey.com>
Sent: Monday, March 22, 2021 11:10 AM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>; Heather Schneider <HSchneider@willkie.com>; Ryan Botkin
<ryan@wittliffcutter.com>
Subject: Re: PI motion

Then we were lied to and will proceed accordingly.

J. Noah Hagey
BraunHagey & Borden LLP
hagey@braunhagey.com
Office (415) 599-0211
Cell (510) 332-7823



        On Mar 22, 2021, at 7:34 AM, Kornfield, Susan <SKornfield@bodmanlaw.com> wrote:


        We have prepared a revised draft as yours was not accurate. We (or other
        counsel for a defendant) will send to you today.

        Regards.

        From: Noah Hagey <hagey@braunhagey.com>
        Sent: Monday, March 22, 2021 10:32 AM
        To: Kornfield, Susan <SKornfield@BODMANLAW.COM>
        Cc: Jeffrey Theodore <Theodore@braunhagey.com>; Bagdady, Justin
        <JBagdady@BODMANLAW.COM>; Heather Schneider <HSchneider@willkie.com>;
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 57 of 215


Ryan Botkin <ryan@wittliffcutter.com>
Subject: PI motion

Counsel,

It has now been a week. We believe the draft PI order accurately captures what
defendants have represented and, if not, would only heighten our need to proceed
with the motion. Please let us know by close of business whether you agree with the
stipulation and, if not, the material terms you object to. Thanks,

Noah

J. Noah Hagey
BraunHagey & Borden LLP
hagey@braunhagey.com
Office (415) 599-0211
Cell (510) 332-7823




       On Mar 17, 2021, at 9:59 AM, Kornfield, Susan
       <SKornfield@bodmanlaw.com> wrote:




       Thank you for your email and attachment, received yesterday. We
       are preparing an updated version that we expect will be more
       accurate and neutral, will be consistent with the undertaking my
       client has already expressed, and will avoid unnecessary adversarial
       proceedings with the Court. Especially for something that should be
       so simple in a case such as this.




       Susan M. Kornfield
       734-930-2488
       SKornfield@BODMANLAW.COM


       bodman
       ATTORNEYS & COUNSELORS




       From: Jeffrey Theodore <Theodore@braunhagey.com>
       Sent: Monday, March 15, 2021 11:26 PM
       To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Noah Hagey
       <hagey@braunhagey.com>
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 58 of 215


     Cc: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Heather Schneider
     <HSchneider@willkie.com>; Ryan Botkin <ryan@wittliffcutter.com>
     Subject: RE: Proposed Resolution


     Counsel,

     We have had a chance to discuss your email and your new positions with
     our client.

     As you probably anticipated, there was not much here to evaluate, and
     most of the facts you recount are demonstrably incorrect. The suggested
     terms also are quite different than what Mr. Bagdady communicated on
     prior occasions, including just days before your email. Then, he indicated
     that Treaty Oak was moving away from the Waterloo concept in RTD, but
     sought some limited right to use the term as a source of origin
     designation.

     In light of your email, we are providing notice of Waterloo’s intention to
     seek a preliminary injunction regarding defendants’ product named in the
     suit. Attached is the form of injunction we intend to seek and urge you to
     consider stipulating to its entry. The language conforms to what
     defendants already have agreed to regarding the withdrawal of the
     infringing products and termination of the campaign.

     If we cannot agree to an injunction along the lines of the attached, we will
     need to formally move the court for its entry and seek additional
     discovery.

     We are available to meet and confer Tuesday at 4pm CT and Wednesday
     at 2pm CT.

     Regards,


     Jeffrey M. Theodore
     BRAUNHAGEY & BORDEN             LLP

     Direct: (415) 599-0219
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 59 of 215


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


                    JOINT AGREED PRELIMINARY INJUNCTION ORDER
       Plaintiff Waterloo Sparkling Water Corp. (“WSW”) and Defendants (1) Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”), Spirited Cocktails Corporation (“SCC”), Daniel

Barnes (“Mr. Barnes”), and Brandon Cason (“Mr. Cason”) (collectively, “Defendants”), appearing

through and represented by its/his undersigned counsel, hereby stipulated to the following Joint

[Proposed] Preliminary Injunction Order:


   1. WHEREAS, on February 17, 2021 Plaintiff WSW filed this action against Defendants for

trademark infringement, false designation of origin, trade dress infringement, unfair competition,

declaratory relief, and unjust enrichment under federal and state law.

   2. WHEREAS WSW is the owner of the following federally registered mark:
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 60 of 215




                                  , U.S. Reg. No. 5,356,607) (“WSW Logo”) for “sparkling

water” and has sold its products since August 2017. WSW has used certain design elements

appearing on its cans in connection with the sale of its products, as illustrated below:




(“WSW Can Design”). WSW does not have a U.S. registration for the WSW Can Design.

WSW does not have a U.S. trademark registration for WATERLOO SPARKING WATER

(Standard Character). WSW claims certain common law trademark rights associated with the

WATERLOO SPARKING WATER (Standard Character) and the WSW Can Design. However,

WSW does not have exclusive rights in color elements where the color is functional (purple to

designate grape flavor, pinkish-red for grapefruit, orange for mango, green for lemon-line, and

the like).

    3. WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) (“WATERLOO

NO. 9 Mark”) for “spirits” and has used the WATERLOO NO. 9 Mark since at least 2011. Treaty

Oak Brewing and Distilling, LLC and/or its related business entities claim common law rights in

other WATERLOO marks and design elements used on product labels and packaging.

    4. WHEREAS, following the successful launch of SCC’s CANTEEN SPIRITS ® brand

ready-to-drink vodka soda in a can, below:




                                                -2-
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 61 of 215




certain Defendants decided to explore interest in the market for a WATERLOO NO. 9 GIN

SPRITZ in a ready-to-drink can. They considered using the packaging below, and sent a copy of

such packaging to WSW in advance of such market exploration:




   5. WHEREAS WSW notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the WATERLOO NO. 9 GIN SPRITZ

product or any related beverage product infringing or resembling the WSW Can Design.

   6. WHEREAS, prior to the filing of the Complaint and Waterloo’s intended motion for

preliminary injunction, each Defendant represented that it would immediately halt, cease and

desist any promotion, marketing, sale or distribution of the WATERLOO NO. 9 GIN SPRITZ

product in the packaging sent by Defendants to WSW (see Section 4, above). Defendants also

represented to WSW, prior to the filing of the Complaint, that there had been no sales of the

WATERLOO NO. 9 GIN SPRITZ product and that they agreed not to sell the WATERLOO NO.

9 GIN SPRITZ product in the can with the designs about which WSW complained.


                                            -3-
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 62 of 215



    7. WHEREAS the parties seek to memorialize Defendants’ representations into a binding

order without prejudice to or waiver of any party’s claims, defenses, arguments or positions in the

litigation itself.

    8. WHEREAS, this Court has authority to issue a preliminary injunction pursuant to Fed. R.

Civ. P. 65 and The U.S. Trademark Act, 15 U.S.C. §§ 1051, 1125(a).

        NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

        1.       Each Defendant and its respective officers, directors, employees, agents, corporate

parents, subsidiaries, affiliates, and distributors, is restrained and enjoined, during the pendency of

this action from directly or indirectly marketing, promoting, selling, offering, distributing,

manufacturing, purchasing, importing, advertising, or otherwise republishing the WATERLOO

NO. 9 GIN SPRITZ product using the packaging below:




        2.       Each Defendant shall confirm to WSW that it has removed all promotions,

marketing and/or advertisements of the WATERLOO NO. 9 GIN SPRITZ product using the

packaging set forth above from any and all websites, promotional decks, advertisements, stores,

events, and other advertising locations within its direct or indirect control and shall refrain from

such advertising during the pendency of this lawsuit.




                                                 -4-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 63 of 215



       3.      Within five (5) business days following the entry of this Order, each Defendant

shall serve notice on Plaintiff certifying Defendant’s compliance with all terms of the Order.

       4.      This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion by

an interested party hereto.

       5.      The Court shall retain jurisdiction over the subject matter and the parties to enforce

the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                              _______________________________
                                                      The Honorable Robert Pitman
                                                      United States District Judge




                                                -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 64 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 65 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


DANIEL BARNES


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


SPIRITED COCKTAILS CORPORATION


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________



BRANDON CASON


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -7-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 66 of 215




                    EXHIBIT 9
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 67 of 215


From:               Jeffrey Theodore
To:                 Kornfield, Susan; Bagdady, Justin
Cc:                 Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:            Waterloo v Treaty Oak et al - Stipulated Injunction
Date:               Monday, March 29, 2021 4:56:00 PM
Attachments:        Waterloo v Treaty Oak et al - Stipulated Injunction.docx


Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                     LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
Tel. & Fax: (415) 599-0210
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 68 of 215



New York
7 Times Square
27th Floor
New York, NY 10036-6524
Tel. & Fax: (646) 829-9403

This message is intended only for the confidential use of the intended recipient(s) and may contain protected information
that is subject to attorney-client, work product, joint defense and/or other legal privileges. If you are not the intended
recipient, please contact me immediately at the phone number listed above and permanently delete the original message and
any copies thereof from your email system. Thank you.
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 69 of 215


                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                  Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                  JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


                     JOINT AGREED PRELIMINARY INJUNCTION ORDER

         Plaintiff Waterloo Sparkling Water Corp. (“Plaintiff”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”) appearing through and represented by

undersigned counsel, hereby stipulate to the following Joint [Proposed] Preliminary Injunction

Order:

         WHEREAS, on February 17, 2021 Plaintiff filed this action for trademark infringement,

false designation of origin, trade dress infringement, unfair competition, declaratory relief, and

unjust enrichment under federal and state law (the “Action”).

         WHEREAS, Plaintiff is the owner of the federally registered mark WATERLOO

SPARKLING WATER and Design (U.S. Reg. No. 5356607) and claims associated common law

trademark rights in the term WATERLOO. Plaintiff has used the following trade dress in

connection with the sale of its products, as illustrated below:
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 70 of 215




         WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) for “spirits”.

         WHEREAS, Treaty Oak, in concert with the other Defendants to the Action (together

“Defendants” or, individually, each a “Defendant”), developed, marketed, promoted, and sought

to launch a WATERLOO NO. 9 GIN SPRITZ in a ready-to-drink can using the packaging

below:




         WHEREAS, the parties dispute certain facts regarding Defendants’ development and

marketing of the WATERLOO NO. 9 GIN SPRITZ product.

         WHEREAS, Plaintiff notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the WATERLOO NO. 9 GIN SPRITZ

product or any related beverage product infringing or resembling the Waterloo Trade Dress.

         WHEREAS, each Defendant represented that it would immediately halt, cease and desist

any promotion, marketing, sale or distribution of the WATERLOO NO. 9 GIN SPRITZ product.

Defendants also represented to Plaintiff that there had been no sales of the WATERLOO NO. 9




                                             -2-
           Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 71 of 215


GIN SPRITZ product and that they agreed not to sell the WATERLOO NO. 9 GIN SPRITZ

product.

       WHEREAS, the Plaintiff and Treaty Oak seek to memorialize Treaty Oak’s

representations into a binding order without prejudice to or waiver of any party’s claims,

defenses, arguments or positions in the litigation itself.

       WHEREAS, this Court has authority to issue a preliminary injunction pursuant to Fed. R.

Civ. P. 65 and The U.S. Trademark Act, 15 U.S.C. §§ 1051, 1125(a).

       NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

       1.       Treaty Oak and its officers, directors, employees, agents, corporate parents, equity

and security holders, subsidiaries, affiliates, and distributors are restrained and enjoined during

the pendency of this action from directly or indirectly marketing, promoting, selling, offering,

distributing, manufacturing, purchasing, importing, advertising, or otherwise republishing the

WATERLOO NO. 9 GIN SPRITZ product. In the event Treaty Oak or any of its officers,

directors, employees, agents, corporate parents, equity and security holders, subsidiaries,

affiliates, or distributors seeks to manufacture, market, promote, sell, or otherwise launch a

ready-to-drink beverage product prominently bearing the WATERLOO name on the front of its

label, it shall first provide 120 (one-hundred-and-twenty) days written notice to Plaintiff.

       2.       Treaty Oak shall confirm to Plaintiff that the Defendants have removed all

promotions, marketing and/or advertisements for the WATERLOO NO. 9 GIN SPRITZ product

using the packaging set forth above from any and all websites, promotional decks,

advertisements, stores, events, and other advertising locations within their direct or indirect

control and shall refrain from such advertising during the pendency of this lawsuit.




                                                 -3-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 72 of 215


       3.      Treaty Oak shall provide Plaintiff the name and contact information (if known) of

each person who received or made any communication, document or thing regarding the

WATERLOO NO. 9 GIN SPRITZ product, and the date such event(s) occurred.

       4.      Within five (5) business days following the entry of this Order, Treaty Oak shall

serve notice on Plaintiff certifying Treaty Oak’s compliance with all terms of the Order.

       5.      This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion

by an interested party hereto.

       6.      The Court shall retain jurisdiction over the subject matter and the parties to

enforce the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                             _______________________________
                                                     The Honorable Robert Pitman
                                                     United States District Judge




                                               -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 73 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 74 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 75 of 215




                   EXHIBIT 10
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 76 of 215


From:             Kornfield, Susan
To:               Jeffrey Theodore; Bagdady, Justin
Cc:               Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:          RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:             Monday, March 29, 2021 5:40:43 PM


Please see earlier correspondence. Your email is - how shall we say it -- detached from reality.



Susan M. Kornfield
Also Admitted in Illinois
BODMAN PLC
Suite 400
201 South Division Street
Ann Arbor, Michigan 48104
office: 734-930-2488
email: skornfield@bodmanlaw.com
My biography on bodmanlaw.com
Pronouns: she/her/hers


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"Diversity-Focused Company"



From: Jeffrey Theodore [Theodore@braunhagey.com]
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan; Bagdady, Justin
Cc: Noah Hagey; Schneider, Heather; Ryan Botkin
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 77 of 215


rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                   LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
Tel. & Fax: (415) 599-0210

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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 78 of 215




                   EXHIBIT 1
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 79 of 215


From:                    Bagdady, Justin
To:                      Jeffrey Theodore; Kornfield, Susan
Cc:                      Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:                 RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:                    Wednesday, April 7, 2021 12:45:54 PM
Attachments:             Waterloo v Treaty Oak et al - Stipulated Injunction 4.7.21.docx


Jeff,

We appreciate the efforts towards moving this matter to a resolution. We have had a chance to
discuss with our clients and they are willing to enter into the attached stipulated preliminary
injunction order.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 80 of 215


product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
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         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 81 of 215


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                 Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                 JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


                    JOINT AGREED PRELIMINARY INJUNCTION ORDER

         Plaintiff Waterloo Sparkling Water Corp. (“Plaintiff”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”) appearing through and represented by

undersigned counsel, hereby stipulate to the following Joint [Proposed] Preliminary Injunction

Order:

         WHEREAS, on February 17, 2021 Plaintiff filed this action for trademark infringement,

false designation of origin, trade dress infringement, unfair competition, declaratory relief, and

unjust enrichment under federal and state law (the “Action”).

         WHEREAS,       Plaintiff     is   the   owner   of     the   federally   registered   mark




                                    (U.S. Reg. No. 5356607) for “sparkling water” and claims to
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 82 of 215


have common law trademark rights in the term WATERLOO. Plaintiff has used the following

unregistered trade dress in connection with the sale of its products, as illustrated below (“Waterloo

Sparkling Water Trade Dress”):




       WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) for “spirits,” has

used the WATERLOO NO. 9 Mark since 2011, and claims common law rights in the term

WATERLOO and in design elements used on its product labels and packaging.

       WHEREAS, Plaintiff contends that the Defendants to this Action developed, marketed,

promoted, and sought to launch a ready-to-drink “gin spritz” product in a can under the name

WATERLOO NO. 9 GIN SPRITZ using the packaging below (the “Gin Spritz Proposed

Packaging”):




       WHEREAS, the parties dispute certain facts regarding the development and marketing of

the proposed WATERLOO NO. 9 GIN SPRITZ product using the “Gin Spritz Proposed

Packaging” and Treaty Oak denies any and all liability.




                                                -2-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 83 of 215


       WHEREAS, Plaintiff notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the gin spritz product in the “Gin Spritz

Proposed Packaging” or any beverage product that Plaintiff contends infringes its registered mark

No. 5356607 or resembling what it contends to be a protectable trade dress.

       WHEREAS, Treaty Oak represented that it would immediately halt, cease and desist any

promotion, marketing, sale or distribution of the gin spritz product in the “Gin Spritz Proposed

Packaging”. Treaty Oak also represented to Plaintiff that there had been no sales of the gin spritz

product in the “Gin Spritz Proposed Packaging” and that they agreed not to do so in the future.

       WHEREAS, this Court has authority to issue this agreed preliminary injunction pursuant

to Fed. R. Civ. P. 65 and The U.S. Trademark Act, 15 U.S.C. §§ 1051, 1125(a).

       NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

       1.      Treaty Oak agrees that it and its officers, directors, employees, agents, subsidiaries,

and affiliates are restrained and enjoined during the pendency of this action from directly or

indirectly marketing, promoting, selling, offering, distributing, manufacturing, purchasing,

importing, advertising, or otherwise republishing the “Gin Spritz Proposed Packaging” or any

packaging that is confusingly similar to the Waterloo Sparkling Water Trade Dress.

       2.      Treaty Oak agrees that it will confirm to Plaintiff that it has removed all promotions,

marketing and/or advertisements for the WATERLOO NO. 9 gin spritz product using the “Gin

Spritz Proposed Packaging” from any and all websites, promotional decks, advertisements, stores,

events, and other advertising locations within their direct or indirect control and shall refrain from

such advertising during the pendency of this lawsuit.

       3.      Within five (5) business days following the entry of this Order, Treaty Oak shall

serve notice on Plaintiff certifying Treaty Oak’s compliance with all terms of the Order.




                                                -3-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 84 of 215


       4.      This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion by

an interested party hereto.

       5.      The Court shall retain jurisdiction during the pendency of this litigation over the

subject matter and the parties to enforce the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                              _______________________________
                                                      The Honorable Robert Pitman
                                                      United States District Judge




                                                -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 85 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 86 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 87 of 215




                   EXHIBIT 12
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 88 of 215


From:                    Jeffrey Theodore
To:                      Bagdady, Justin; Kornfield, Susan
Cc:                      Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:                 RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:                    Friday, April 9, 2021 3:14:00 PM


Justin,

Just left you a voice message. Give me a call when you have a chance. 617 823 8514. Would like to
discuss your revisions as well as case status, scheduling, and next steps if we are unable to reach
agreement on language.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                         LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Jeff,

We appreciate the efforts towards moving this matter to a resolution. We have had a chance to
discuss with our clients and they are willing to enter into the attached stipulated preliminary
injunction order.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 89 of 215


Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                 LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 90 of 215


Tel. & Fax: (415) 599-0210

New York
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27th Floor
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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 91 of 215




                   EXHIBIT 13
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 92 of 215


From:             Jeffrey Theodore
To:               Schneider, Heather; "Bagdady, Justin"; Kornfield, Susan
Cc:               Noah Hagey; Ryan Botkin
Subject:          RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:             Monday, April 12, 2021 9:15:00 PM
Attachments:      Waterloo v Treaty Oak et al - Stipulated Injunction 4.12.21 (002).docx


Justin,

Thanks and look forward to speaking tomorrow. Let’s do 4 pm ET. We will send a dial in.

In the interim, please find attached a further redline of the PI. We think that we have made progress,
but we do need a reasonable notice period in the event that your client is going to launch a
Waterloo branded RTD product. Our hope is that this should not be a major issue given the pending
litigation and that we had understood there were no immediate plans to do so.

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                  LLP

Direct: (415) 599-0219



From: Schneider, Heather <HSchneider@willkie.com>
Sent: Monday, April 12, 2021 1:11 PM
To: 'Bagdady, Justin' <JBagdady@BODMANLAW.COM>; Jeffrey Theodore
<Theodore@braunhagey.com>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

I could speak tomorrow from 3-4 ET.

Sincerely,
Heather


Heather M. Schneider
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8685 | Fax: +1 212 728 9685
hschneider@willkie.com | vCard | www.willkie.com bio



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Monday, April 12, 2021 3:53 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
          Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 93 of 215


Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction


                                  *** EXTERNAL EMAIL ***
How is tomorrow afternoon between 3-5 pm Eastern? Susan and I are available for a call
then.


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 9, 2021 6:15 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

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Jeff




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BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 94 of 215


<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

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Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


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From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

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Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
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This does not provide Waterloo meaningful protection against another attempt to misappropriate its
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that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 95 of 215


product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
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         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 96 of 215


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


                    JOINT AGREED PRELIMINARY INJUNCTION ORDER

         Plaintiff Waterloo Sparkling Water Corp. (“Plaintiff”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”) appearing through and represented by

undersigned counsel, hereby stipulate to the following Joint [Proposed] Preliminary Injunction

Order:

         WHEREAS, on February 17, 2021 Plaintiff filed this action for trademark infringement,

false designation of origin, trade dress infringement, unfair competition, declaratory relief, and

unjust enrichment under federal and state law (the “Action”).

         WHEREAS, Plaintiff is the owner of the federally registered mark WATERLOO




SPARKLING WATER and Design                                (U.S. Reg. No. 5356607) for “sparkling

water” and claims to have common law trademark rights in the term WATERLOO. Plaintiff has
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 97 of 215


used the following unregistered trade dress in connection with the sale of its products, as illustrated

below (“Waterloo Sparkling Water Trade Dress”):




       WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) for “spirits,” has

used the WATERLOO NO. 9 Mark since 2011, and claims common law rights in the term

WATERLOO and in design elements used on its product labels and packaging.

       WHEREAS, Plaintiff contends that the Defendants to this Action (together, “Defendants”

or, individually, each a “Defendant”) developed, marketed, promoted, and sought to launch a

ready-to-drink “gin spritz” product in a can under the name WATERLOO NO. 9 GIN SPRITZ

using the packaging below (the “Gin Spritz Proposed Packaging”):




       WHEREAS, the parties dispute certain facts regarding the development and marketing of

the proposed WATERLOO NO. 9 GIN SPRITZ product using the “Gin Spritz Proposed

Packaging” and Treaty Oak denies any and all liability.

       WHEREAS, Plaintiff notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the gin spritz product in the “Gin Spritz


                                                 -2-
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 98 of 215


Proposed Packaging” or and any related beverage product that Plaintiff contends infringes its

registered mark No. 5356607 or resembling what it contends to be a protectable trade

dresstrademark or trade dress rights.

        WHEREAS, Treaty Oak represented that it would immediately halt, cease and desist any

promotion, marketing, sale or distribution of the gin spritz product in the “Gin Spritz Proposed

Packaging”. Treaty Oak also represented to Plaintiff that there had been no sales of the gin spritz

product in the “Gin Spritz Proposed Packaging” and that they agreed not to do so in the future.

        WHEREAS, this Court has authority to issue this agreed preliminary injunction pursuant

to Fed. R. Civ. P. 65 and The U.S. Trademark Act, 15 U.S.C. §§ 1051, 1125(a).

        NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

        1.      Treaty Oak agrees that it and its officers, directors, employees, agents, parents,

owners, subsidiaries, and affiliates are restrained and enjoined during the pendency of this action

from directly or indirectly marketing, promoting, selling, offering, distributing, manufacturing,

purchasing, importing, advertising, or otherwise republishing the “Gin Spritz Proposed

Packaging” or any packaging that is confusingly similar to the Waterloo Sparkling Water Trade

Dress. In the event Treaty Oak or any of its officers, directors, employees, agents, parents, owners,

subsidiaries, affiliates, or distributors seeks to manufacture, market, promote, sell, or otherwise

launch a ready-to-drink beverage product prominently bearing the term “WATERLOO” on the

front of its label, it shall first provide ninety (90) days written notice to Plaintiff.

        2.      Treaty Oak agrees that it will confirm to Plaintiff that it has removed all promotions,

marketing and/or advertisements for the WATERLOO NO. 9 gin spritz product using the “Gin

Spritz Proposed Packaging” from any and all websites, promotional decks, advertisements, stores,

events, and other advertising locations within their direct or indirect control and shall refrain from

such advertising during the pendency of this lawsuit.

                                                   -3-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 99 of 215


       2.3.    Treaty Oak shall provide Plaintiff the name and contact information of each person

or entity to whom Treaty Oak or its agents or distributors marketed the WATERLOO NO. 9 gin

spritz product, and the date such event(s) occurred.

       3.4.    Within five (5) business days following the entry of this Order, Treaty Oak shall

serve notice on Plaintiff certifying Treaty Oak’s compliance with all terms of the Order.

       4.5.    This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion by

an interested party hereto.

       5.6.    The Court shall retain jurisdiction during the pendency of this litigation over the

subject matter and the parties to enforce the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                               _______________________________
                                                       The Honorable Robert Pitman
                                                       United States District Judge




                                                -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 100 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 101 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 102 of 215




                   EXHIBIT 14
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 103 of 215


From:               Jeffrey Theodore
To:                 Schneider, Heather; "Bagdady, Justin"; Kornfield, Susan
Cc:                 Noah Hagey; Ryan Botkin
Subject:            RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:               Wednesday, April 14, 2021 11:08:00 AM


Justin,

Thanks for chatting yesterday and agreeing to get back to us with a revision to the stipulated PI sent
below. As I mentioned on the call, we would appreciate an expeditious turnaround so that we can
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          event that we cannot come to an agreement; that will save the need for motion practice re
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Thanks,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                    LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
Sent: Monday, April 12, 2021 9:16 PM
To: Schneider, Heather <HSchneider@willkie.com>; 'Bagdady, Justin'
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
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       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 104 of 215


but we do need a reasonable notice period in the event that your client is going to launch a
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BRAUNHAGEY & BORDEN             LLP

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From: Schneider, Heather <HSchneider@willkie.com>
Sent: Monday, April 12, 2021 1:11 PM
To: 'Bagdady, Justin' <JBagdady@BODMANLAW.COM>; Jeffrey Theodore
<Theodore@braunhagey.com>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

I could speak tomorrow from 3-4 ET.

Sincerely,
Heather


Heather M. Schneider
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8685 | Fax: +1 212 728 9685
hschneider@willkie.com | vCard | www.willkie.com bio


From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Monday, April 12, 2021 3:53 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
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                                  *** EXTERNAL EMAIL ***
How is tomorrow afternoon between 3-5 pm Eastern? Susan and I are available for a call
then.


Justin P. Bagdady
734-930-2727
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 105 of 215


JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 9, 2021 6:15 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
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Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
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Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

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Jeffrey M. Theodore
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Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
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Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
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injunction order.

Justin
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 106 of 215



Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
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Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

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Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
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without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
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that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 107 of 215




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                   LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
Tel. & Fax: (415) 599-0210

New York
7 Times Square
27th Floor
New York, NY 10036-6524
Tel. & Fax: (646) 829-9403

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                   EXHIBIT 15
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 109 of 215


From:               Jeffrey Theodore
To:                 Bagdady, Justin
Subject:            RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:               Friday, April 16, 2021 12:30:00 PM


Justin,

Just tried you quickly. Wanted to see where we were on another turn of the PI and see if we could
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Thanks,

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BRAUNHAGEY & BORDEN                    LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
Sent: Wednesday, April 14, 2021 11:09 AM
To: Schneider, Heather <HSchneider@willkie.com>; 'Bagdady, Justin'
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
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       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 110 of 215



Thanks,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
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To: Schneider, Heather <HSchneider@willkie.com>; 'Bagdady, Justin'
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Sincerely,
Heather
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 111 of 215




Heather M. Schneider
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        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 112 of 215




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From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
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       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 113 of 215


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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 115 of 215




                   EXHIBIT 16
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 116 of 215


From:                    Bagdady, Justin
To:                      Jeffrey Theodore
Subject:                 RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:                    Friday, April 16, 2021 3:36:44 PM




*** EXTERNAL MESSAGE ***

Our client representatives are considering the proposal and discussing a couple different
options. We are working on it.


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 16, 2021 3:31 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

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BRAUNHAGEY & BORDEN                         LLP

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Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
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         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 117 of 215



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        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 118 of 215


Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

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Heather M. Schneider
Willkie Farr & Gallagher LLP
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Direct: +1 212 728 8685 | Fax: +1 212 728 9685
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bodman
ATTORNEYS & COUNSELORS
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 119 of 215



From: Jeffrey Theodore <Theodore@braunhagey.com>
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BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Jeff,

We appreciate the efforts towards moving this matter to a resolution. We have had a chance to
discuss with our clients and they are willing to enter into the attached stipulated preliminary
injunction order.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 120 of 215



bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN               LLP
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 121 of 215


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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 122 of 215




                   EXHIBIT 17
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 123 of 215


From:                    Jeffrey Theodore
To:                      Bagdady, Justin
Subject:                 RE: Waterloo v Treaty Oak et al - Stipulated Injunction
Date:                    Monday, April 19, 2021 12:39:00 PM


Thanks Justin. Please let me know where we are on the PI. As I mentioned, I’m happy to discuss one
on one. As I mentioned last week, If we’re not going to be able to reach an agreement, would also be
helpful to negotiate an agreed briefing scheduling.

Thanks,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                         LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Friday, April 16, 2021 3:37 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction


*** EXTERNAL MESSAGE ***

Our client representatives are considering the proposal and discussing a couple different
options. We are working on it.


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 16, 2021 3:31 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Justin,

Just tried you quickly. Wanted to see where we were on another turn of the PI and see if we could
talk briefly offline to see if we can move this forward. I’m tied up in a hearing for the next few hours
         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 124 of 215


but available later this afternoon.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                LLP

Direct: (415) 599-0219



From: Jeffrey Theodore
Sent: Wednesday, April 14, 2021 11:09 AM
To: Schneider, Heather <HSchneider@willkie.com>; 'Bagdady, Justin'
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Justin,

Thanks for chatting yesterday and agreeing to get back to us with a revision to the stipulated PI sent
below. As I mentioned on the call, we would appreciate an expeditious turnaround so that we can
come to an agreement or know that we will need to move promptly for a PI if an agreement is not
forthcoming. A couple of follow up thoughts:

       1. I appreciate your expression of openness to the notice concept. Regarding your suggestion of
          a cap on the time period, I would just re-emphasize that we are asking for an injunction that
          would only operate during the pendency of the litigation.
       2. We are not interested in agreeing to an injunction against Waterloo Sparkling Water: there
          has been no attempt at or threat of infringement from our side, and there is no likelihood that
          we would attempt to use Treaty Oak’s WATERLOO NO. 9 GIN mark, even putting aside the
          fact that it is the junior mark in terms of priority.
       3. As I mentioned on the call, we would like to discuss an agreed schedule for PI briefing in the
          event that we cannot come to an agreement; that will save the need for motion practice re
          shortening time.

Thanks,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                LLP

Direct: (415) 599-0219
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 125 of 215




From: Jeffrey Theodore
Sent: Monday, April 12, 2021 9:16 PM
To: Schneider, Heather <HSchneider@willkie.com>; 'Bagdady, Justin'
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Justin,

Thanks and look forward to speaking tomorrow. Let’s do 4 pm ET. We will send a dial in.

In the interim, please find attached a further redline of the PI. We think that we have made progress,
but we do need a reasonable notice period in the event that your client is going to launch a
Waterloo branded RTD product. Our hope is that this should not be a major issue given the pending
litigation and that we had understood there were no immediate plans to do so.

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Schneider, Heather <HSchneider@willkie.com>
Sent: Monday, April 12, 2021 1:11 PM
To: 'Bagdady, Justin' <JBagdady@BODMANLAW.COM>; Jeffrey Theodore
<Theodore@braunhagey.com>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Ryan Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

I could speak tomorrow from 3-4 ET.

Sincerely,
Heather


Heather M. Schneider
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8685 | Fax: +1 212 728 9685
hschneider@willkie.com | vCard | www.willkie.com bio


From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Monday, April 12, 2021 3:53 PM
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 126 of 215


To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction


                                  *** EXTERNAL EMAIL ***
How is tomorrow afternoon between 3-5 pm Eastern? Susan and I are available for a call
then.


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 9, 2021 6:15 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Justin,

Just left you a voice message. Give me a call when you have a chance. 617 823 8514. Would like to
discuss your revisions as well as case status, scheduling, and next steps if we are unable to reach
agreement on language.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 127 of 215


Sent: Wednesday, April 7, 2021 12:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v Treaty Oak et al - Stipulated Injunction

Jeff,

We appreciate the efforts towards moving this matter to a resolution. We have had a chance to
discuss with our clients and they are willing to enter into the attached stipulated preliminary
injunction order.

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Monday, March 29, 2021 7:56 PM
To: Kornfield, Susan <SKornfield@BODMANLAW.COM>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v Treaty Oak et al - Stipulated Injunction

Susan,

We have had a chance to discuss your revised draft stipulated injunction with our client.

Unfortunately, your document is not consistent with the representations that were made by Mr.
Bagdady in response to our filing suit and on the basis of which we refrained from seeking injunctive
relief. Mr. Bagdady represented on February 19, 2021, that Treaty Oak would not manufacture any
alcoholic seltzer product until this matter is resolved, as memorialized in my email of the same day.
By contrast, your injunction promises only to refrain from selling a “WATERLOO NO. 9 GIN SPRITZ”
(which term is undefined) in the exact packaging identified in our Complaint and demand letters.
This does not provide Waterloo meaningful protection against another attempt to misappropriate its
brand and goodwill and allows your client to market an only slightly revised infringing product
without notice.

This bait and switch is not confidence inducing and only underscores the need for preliminary
injunctive relief. Nonetheless, in an effort to avoid burdening the Court with briefing while ensuring
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 128 of 215


that there is no further infringement, we have attached a revised stipulated preliminary injunction
that requires Treaty Oak to provide 120 days’ notice before it proceeds with any alcoholic seltzer
product that uses the Waterloo name during the pendency of this litigation. Given your
representations that neither Defendant has any such present plan, this should not impinge on any
rights you may claim to have while providing Waterloo confidence that it will not be sandbagged by
an infringing product without an opportunity to seek emergency relief. Our revised draft also
removes the inaccurate and tendentious narrative that you inserted.

Let us know if your client has any objections to this relief.

Regards,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                   LLP

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San Francisco, CA 94104
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                   EXHIBIT 18
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 130 of 215


From:               Jeffrey Theodore
To:                 Bagdady, Justin; Kornfield, Susan
Cc:                 Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:            Waterloo v. Treaty Oak
Date:               Thursday, April 22, 2021 9:03:00 AM


Justin and Susan,

I write to follow up on our efforts to negotiate a stipulated preliminary injunction. We sent you our
latest draft ten days ago, spoke on the phone about it the day after that, and have sent you three
follow up emails since then but have not received any substantive response other than that you are
considering our proposal. We request that you respond to our proposal today so that we can reach
an agreement, if there is one to be reached, no later than Tuesday.

We have assiduously and patiently attempted to work with you her to avoid the need for motion
practice, but at this point we need to either come to an agreement or let the Court resolve the
matter. We appreciate your clients’ prompt attention to and focus on this so that we can conclude
our negotiations by Tuesday.

Regards,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                   LLP

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                   EXHIBIT 19
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 132 of 215


From:                    Bagdady, Justin
To:                      Jeffrey Theodore; Kornfield, Susan
Cc:                      Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:                 RE: Waterloo v. Treaty Oak
Date:                    Friday, April 23, 2021 10:43:47 AM
Attachments:             Waterloo v Treaty Oak et al - Stipulated Injunction 4.23.21.docx




*** EXTERNAL MESSAGE ***

Jeff,

Attached is a copy of the injunction order that our client is prepared to agree to. As you will
see, this version does not include the 90-day notice provision that was in the version you last
circulated. Our client management team is still considering that concept and may be willing to
agree to something like that, but given that it is outside the scope of what is at issue in the case
and in our view is not something that Judge Pitman is likely to ever award even if your client
filed a motion and won it, they are still weighing whether to agree to something like that. As
discussed on our last call, it would be more palatable to our client if it applied mutually.
Susan and I are setting up another call with our client team for next week to discuss the notice
concept with them again. In the meantime, as noted above I can tell you that our clients are
willing to stipulate to entry of the attached order.

Justin


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Thursday, April 22, 2021 12:04 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v. Treaty Oak

Justin and Susan,

I write to follow up on our efforts to negotiate a stipulated preliminary injunction. We sent you our
latest draft ten days ago, spoke on the phone about it the day after that, and have sent you three
follow up emails since then but have not received any substantive response other than that you are
considering our proposal. We request that you respond to our proposal today so that we can reach
an agreement, if there is one to be reached, no later than Tuesday.
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 133 of 215


We have assiduously and patiently attempted to work with you her to avoid the need for motion
practice, but at this point we need to either come to an agreement or let the Court resolve the
matter. We appreciate your clients’ prompt attention to and focus on this so that we can conclude
our negotiations by Tuesday.

Regards,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                   LLP

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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


                    JOINT AGREED PRELIMINARY INJUNCTION ORDER

         Plaintiff Waterloo Sparkling Water Corp. (“Plaintiff”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”) appearing through and represented by

undersigned counsel, hereby stipulate to the following Joint [Proposed] Preliminary Injunction

Order:

         WHEREAS, on February 17, 2021 Plaintiff filed this action for trademark infringement,

false designation of origin, trade dress infringement, unfair competition, declaratory relief, and

unjust enrichment under federal and state law (the “Action”).

         WHEREAS, Plaintiff is the owner of the federally registered mark WATERLOO




SPARKLING WATER and Design                                (U.S. Reg. No. 5356607) for “sparkling

water” and claims common law trademark rights in the term WATERLOO. Plaintiff has used the
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 135 of 215


following trade dress in connection with the sale of its products, as illustrated below (“Waterloo

Sparkling Water Trade Dress”):




       WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) for “spirits” and

claims common law rights in the term WATERLOO and in design elements used on its product

labels and packaging.

       WHEREAS, Plaintiff contends that the Defendants to this Action (together, “Defendants”

or, individually, each a “Defendant”) developed, marketed, promoted, and sought to launch a

ready-to-drink “gin spritz” product in a can under the name WATERLOO NO. 9 GIN SPRITZ

using the packaging below (the “Gin Spritz Proposed Packaging”):




       WHEREAS, the parties dispute certain facts regarding the development and marketing of

the proposed WATERLOO NO. 9 GIN SPRITZ product using the “Gin Spritz Proposed

Packaging” and Treaty Oak denies any and all liability.

       WHEREAS, Plaintiff notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the gin spritz product in the “Gin Spritz


                                              -2-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 136 of 215


Proposed Packaging” and any beverage product that Plaintiff contends infringes its trademark or

trade dress rights.

        WHEREAS, Treaty Oak represented that it would immediately halt, cease and desist any

promotion, marketing, sale or distribution of the gin spritz product in the “Gin Spritz Proposed

Packaging”. Treaty Oak also represented to Plaintiff that there had been no sales of the gin spritz

product in the “Gin Spritz Proposed Packaging” and that they agreed not to do so in the future.

        WHEREAS, this Court has authority to issue this agreed preliminary injunction pursuant

to Fed. R. Civ. P. 65 and The U.S. Trademark Act, 15 U.S.C. §§ 1051, 1125(a).

        NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

        1.      Treaty Oak agrees that it and its officers, directors, employees, agents, subsidiaries,

and affiliates are restrained and enjoined during the pendency of this action from directly or

indirectly marketing, promoting, selling, offering, distributing, manufacturing, purchasing,

importing, advertising, or otherwise republishing the “Gin Spritz Proposed Packaging” or any

packaging that is confusingly similar to the Waterloo Sparkling Water Trade Dress.

        2.      Treaty Oak agrees that it will confirm to Plaintiff that it has removed all promotions,

marketing and/or advertisements for the WATERLOO NO. 9 gin spritz product using the “Gin

Spritz Proposed Packaging” from any and all websites, promotional decks, advertisements, stores,

events, and other advertising locations within their direct or indirect control and shall refrain from

such advertising during the pendency of this lawsuit.

        3.      Within five (5) business days following the entry of this Order, Treaty Oak shall

serve notice on Plaintiff certifying Treaty Oak’s compliance with all terms of the Order.




                                                 -3-
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 137 of 215


       4.      This Preliminary Injunction shall remain in force and effect through and until a

final judgment in this litigation, or upon good cause by the Court upon properly noticed motion by

an interested party hereto.

       5.      The Court shall retain jurisdiction during the pendency of this litigation over the

subject matter and the parties to enforce the terms of this Preliminary Injunction.

IT IS SO ORDERED.

Dated: _________________                              _______________________________
                                                      The Honorable Robert Pitman
                                                      United States District Judge




                                                -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 138 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 139 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 140 of 215




                   EXHIBIT 20
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 141 of 215


From:             Jeffrey Theodore
To:               Bagdady, Justin; Kornfield, Susan
Cc:               Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:          RE: Waterloo v. Treaty Oak
Date:             Sunday, April 25, 2021 12:59:00 PM


Justin,

I am happy to speak with you on Monday (and have tried you several times over the past week and a
half). As I stated on the phone and in my prior emails, Waterloo will not agree to any injunctive
restraint, and there is no basis for Treaty Oak to make any such request because Waterloo has not
attempted to infringe or exploit Treaty Oak’s trademark and trade dress. Please let us know whether
Treaty Oak and Barnes will agree to the 90-day notice provision.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                 LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Friday, April 23, 2021 10:44 AM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak


*** EXTERNAL MESSAGE ***

Jeff,

Attached is a copy of the injunction order that our client is prepared to agree to. As you will
see, this version does not include the 90-day notice provision that was in the version you last
circulated. Our client management team is still considering that concept and may be willing to
agree to something like that, but given that it is outside the scope of what is at issue in the case
and in our view is not something that Judge Pitman is likely to ever award even if your client
filed a motion and won it, they are still weighing whether to agree to something like that. As
discussed on our last call, it would be more palatable to our client if it applied mutually.
Susan and I are setting up another call with our client team for next week to discuss the notice
concept with them again. In the meantime, as noted above I can tell you that our clients are
willing to stipulate to entry of the attached order.
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 142 of 215



Justin


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Thursday, April 22, 2021 12:04 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v. Treaty Oak

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I write to follow up on our efforts to negotiate a stipulated preliminary injunction. We sent you our
latest draft ten days ago, spoke on the phone about it the day after that, and have sent you three
follow up emails since then but have not received any substantive response other than that you are
considering our proposal. We request that you respond to our proposal today so that we can reach
an agreement, if there is one to be reached, no later than Tuesday.

We have assiduously and patiently attempted to work with you her to avoid the need for motion
practice, but at this point we need to either come to an agreement or let the Court resolve the
matter. We appreciate your clients’ prompt attention to and focus on this so that we can conclude
our negotiations by Tuesday.

Regards,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                 LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
Tel. & Fax: (415) 599-0210

New York
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 143 of 215


7 Times Square
27th Floor
New York, NY 10036-6524
Tel. & Fax: (646) 829-9403

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that is subject to attorney-client, work product, joint defense and/or other legal privileges. If you are not the intended
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any copies thereof from your email system. Thank you.
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 144 of 215




                   EXHIBIT 21
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 145 of 215


From:                    Bagdady, Justin
To:                      Jeffrey Theodore; Kornfield, Susan
Cc:                      Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:                 RE: Waterloo v. Treaty Oak
Date:                    Friday, April 30, 2021 8:32:13 AM
Attachments:             Stipulated Permanent Injunction and Order of Dismissal 4.30.docx




*** EXTERNAL MESSAGE ***

Jeff,

We have discussed further with our client the notice provision your client has asked for in the
proposed stipulated injunction. Our client is willing to stipulate and agree to the attached
permanent injunction order, which does include a 90-day notice provision over a six month
period. This would be a permanent injunction that would include dismissal of all claims in the
case. We do not believe your client is entitled to any sort of advance notice provision, but our
client is willing to stipulate to entry of the attached for purposes of putting this matter to an
end.

Alternatively, our client is still willing to enter into the stipulated preliminary injunction order
in the form that I sent to you by email last Friday (as an attachment to my below email).

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Bagdady, Justin
Sent: Friday, April 23, 2021 1:43 PM
To: 'Jeffrey Theodore' <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak

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and in our view is not something that Judge Pitman is likely to ever award even if your client
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        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 146 of 215


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Justin


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bodman
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Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v. Treaty Oak

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Tel. & Fax: (415) 599-0210
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 147 of 215



New York
7 Times Square
27th Floor
New York, NY 10036-6524
Tel. & Fax: (646) 829-9403

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         Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 148 of 215


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WATERLOO SPARKLING WATER        §
 CORP.,                          §                Civil Action No. 1:21-CV-161-RP
                                 §
     Plaintiff,                  §
                                 §                JURY TRIAL DEMANDED
             v.                  §
                                 §
 TREATY OAK BREWING AND          §
 DISTILLING CO., LLC, TREATY OAK §
 BRANDS, LLC, TREATY OAK         §
 OPERATIONS, LLC, TREATY OAK     §
 HOLDINGS, LLC, SPIRITED         §
 COCKTAILS CORPORATION, DANIEL §
 BARNES, and BRANDON CASON,      §
                                 §
     Defendants.                 §
                                 §


             STIPULATED PERMANENT INJUNCTION ORDER AND ORDER OF
                           DISMISSAL WITH PREJUDICE

         Plaintiff Waterloo Sparkling Water Corp. (“Plaintiff”) and Defendants Treaty Oak

Brewing and Distilling Co., LLC, Treaty Oak Brands, LLC, Treaty Oak Operations, LLC, Treaty

Oak Holdings, LLC (collectively, “Treaty Oak”) appearing through and represented by

undersigned counsel, hereby stipulate to the following Stipulated [Proposed] Permanent Injunction

Order:

         WHEREAS, on February 17, 2021 Plaintiff filed this action for trademark infringement,

false designation of origin, trade dress infringement, unfair competition, declaratory relief, and

unjust enrichment under federal and state law (the “Action”).

         WHEREAS, Plaintiff is the owner of the federally registered mark WATERLOO




SPARKLING WATER and Design                                (U.S. Reg. No. 5356607) for “sparkling

water” and claims common law trademark rights in the term WATERLOO. Plaintiff has used the
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 149 of 215


following trade dress in connection with the sale of its products, as illustrated below (“Waterloo

Sparkling Water Trade Dress”):




       WHEREAS, Defendant Treaty Oak Brewing and Distilling, LLC is the owner of a

federally registered mark WATERLOO NO. 9 GIN (U.S. Reg. No. 6,003,279) for “spirits” and

claims common law rights in the term WATERLOO and in design elements used on its product

labels and packaging.

       WHEREAS, Plaintiff contends that the Defendants to this Action (together, “Defendants”

or, individually, each a “Defendant”) developed, marketed, promoted, and sought to launch a

ready-to-drink “gin spritz” product in a can under the name WATERLOO NO. 9 GIN SPRITZ

using the packaging below (the “Gin Spritz Proposed Packaging”):




       WHEREAS, the parties dispute certain facts regarding the development and marketing of

the proposed WATERLOO NO. 9 GIN SPRITZ product using the “Gin Spritz Proposed

Packaging” and Treaty Oak denies any and all liability.

       WHEREAS, Plaintiff notified Defendants of its intention to seek a formal preliminary

injunction to enjoin production, sale, or marketing of the gin spritz product in the “Gin Spritz


                                              -2-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 150 of 215


Proposed Packaging” and any beverage product that Plaintiff contends infringes its trademark or

trade dress rights.

        WHEREAS, Treaty Oak represented that it would immediately halt, cease and desist any

promotion, marketing, sale or distribution of the gin spritz product in the “Gin Spritz Proposed

Packaging”. Treaty Oak also represented to Plaintiff that there had been no sales of the gin spritz

product in the “Gin Spritz Proposed Packaging” and that they agreed not to do so in the future.

        WHEREAS, this Court has authority to issue this agreed permanent injunction and

dismissal with prejudice pursuant to Fed. R. Civ. P. 41 and The U.S. Trademark Act, 15 U.S.C. §§

1051, 1125(a).

        NOW THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED as follows:

        1.       Treaty Oak agrees that it and its officers, directors, employees, agents, subsidiaries,

and affiliates are restrained and enjoined from directly or indirectly marketing, promoting, selling,

offering, distributing, manufacturing, purchasing, importing, advertising, or otherwise

republishing the “Gin Spritz Proposed Packaging” or any packaging that is confusingly similar to

the Waterloo Sparkling Water Trade Dress. In the event Treaty Oak or any of its subsidiaries, or

licensees of the WATERLOO NO. 9 GIN trademark decides, within six months of the date of

entry of this Order, to manufacture, market, promote, sell, or otherwise launch a canned ready-to-

drink alcoholic beverage product bearing the term “WATERLOO” as part of the primary product

name on the front of its label, it shall provide ninety (90) days written notice to Plaintiff in advance

of any such product manufacture, marketing, promotion, sale, or launch. Provided that Treaty Oak

does not use the “Gin Spritz Proposed Packaging” or any packaging that is confusingly similar to

the Waterloo Sparkling Water Trade Dress, nothing in this Order gives Plaintiff the legal right to

approve or reject any such ready-to-drink alcoholic beverage product of Treaty Oak.




                                                  -3-
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 151 of 215


       2.      Treaty Oak agrees that it will confirm to Plaintiff that it has removed all promotions,

marketing and/or advertisements for the WATERLOO NO. 9 gin spritz product using the “Gin

Spritz Proposed Packaging” from any and all websites, promotional decks, advertisements, stores,

events, and other advertising locations within their direct or indirect control and shall refrain from

such advertising.

       3.      Within five (5) business days following the entry of this Order, Treaty Oak shall

serve notice on Plaintiff certifying Treaty Oak’s compliance with all terms of the Order.

       4.      Nothing herein shall constitute or be construed as an admission of liability by

Treaty Oak.

       5.      The complaint and all of plaintiff’s claims asserted therein are hereby dismissed

with prejudice. The Court shall retain jurisdiction over the subject matter and the parties with

respect to any application to enforce the terms of this Permanent Injunction.

IT IS SO ORDERED.

Dated: _________________                              _______________________________
                                                      The Honorable Robert Pitman
                                                      United States District Judge




                                                -4-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 152 of 215


SO STIPULATED AND AGREED.


WATERLOO SPARKLING WATER CORP.


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BREWING AND DISTILLING CO., LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK BRANDS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________


TREATY OAK OPERATIONS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -5-
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 153 of 215


TREATY OAK HOLDINGS, LLC


____________________________________          ______________
Signature                                     Date

Name: ______________________________

Title: ______________________________




                                        -6-
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 154 of 215




                   EXHIBIT 22
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 155 of 215


From:             Jeffrey Theodore
To:               Bagdady, Justin; Kornfield, Susan
Cc:               Noah Hagey; Schneider, Heather; Ryan Botkin; Pete Kennedy
Subject:          RE: Waterloo v. Treaty Oak
Date:             Friday, April 30, 2021 9:29:00 AM


Justin,

You will not be surprised to hear that we are not willing to agree dismissal and permanent release of
all of our claims in return for six months of a notice period that leaves Treaty Oak unfettered
thereafter. Our proposal was for a preliminary injunction that would operate pending a resolution of
our claims on the merits, and we crafted a fair compromise on that score that we thought would
avoid preliminary injunction briefing. That was not in return for a full dismissal, nor would such an
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thoughts around a larger resolution that might be able resolve the case entirely and you said that
you would discuss with your client and get back to me on those. I don’t know if you spoke to your
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the case.

In terms of next steps, please let me know whether Treaty Oak and Barnes will agree to an
expansion of the page limit on our preliminary injunction motion to 25 pages. If not, please let me
know what times today you and Pete are available to meet and confer by telephone on this issue as
required by the Local Rules.

Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                 LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Friday, April 30, 2021 8:32 AM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 156 of 215




*** EXTERNAL MESSAGE ***

Jeff,

We have discussed further with our client the notice provision your client has asked for in the
proposed stipulated injunction. Our client is willing to stipulate and agree to the attached
permanent injunction order, which does include a 90-day notice provision over a six month
period. This would be a permanent injunction that would include dismissal of all claims in the
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Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




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To: 'Jeffrey Theodore' <Theodore@braunhagey.com>; Kornfield, Susan
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Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
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Justin
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 157 of 215



Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


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Regards,

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      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 158 of 215


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Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 159 of 215




                   EXHIBIT 23
     Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 160 of 215


From:              Bagdady, Justin
To:                Pete Kennedy; Jeffrey Theodore; Kornfield, Susan
Cc:                Noah Hagey; Schneider, Heather; Ryan Botkin
Subject:           RE: Waterloo v. Treaty Oak
Date:              Friday, April 30, 2021 3:13:02 PM
Attachments:       image001.png




*** EXTERNAL MESSAGE ***

The briefing timing and page limits are ok for Treaty Oak. I think it would make sense to line
up all the timing, so if WSW agrees to Pete’s proposal on the answer date I’d ask for the
same. But also not a condition on our agreement to the briefing terms.


From: Pete Kennedy <PKennedy@gdhm.com>
Sent: Friday, April 30, 2021 5:46 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak

Jeff – That works for Daniel. This request isn’t a condition on his agreement to the terms below, but
will WSW agree to extend Daniel’s time to file an answer to the Complaint to 7 days after the PI is
filed? That gives us a bit of breathing room to prepare the answer in light of the PI, which could
avoid the need to seek amendment later, while still giving WSW notice of his answer before the PI
application response is filed. – Pete.

From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 30, 2021 3:33 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Pete Kennedy <PKennedy@gdhm.com>;
Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak

Justin and Pete,

Thanks very much. Based on your emails, I would propose the following full schedule and page limits
as an agreed approach:

   1. Motion (25 pages)
   2. 14 days to file Opposition (25 pages)
   3. 7 days to file Reply (15 pages)

Let me know if that works.
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 161 of 215



Thanks,

Jeff




Jeffrey M. Theodore
BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



From: Bagdady, Justin <JBagdady@BODMANLAW.COM>
Sent: Friday, April 30, 2021 12:57 PM
To: Pete Kennedy <PKennedy@gdhm.com>; Jeffrey Theodore <Theodore@braunhagey.com>;
Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak


*** EXTERNAL MESSAGE ***

Treaty Oak would agree to the same arrangement set forth in Pete’s email.

From: Pete Kennedy <PKennedy@gdhm.com>
Sent: Friday, April 30, 2021 3:43 PM
To: Jeffrey Theodore <Theodore@braunhagey.com>; Bagdady, Justin
<JBagdady@BODMANLAW.COM>; Kornfield, Susan <SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak

Jeff – Thanks for reaching out and the head’s up. Daniel does not object to WSW’s request to
expand its page limit to 25 pages, if WSW will agree to an equivalent extension for his response, and
that Daniel have 14 calendar days from the date of WSW’s filing of the application to file his
response. – Pete.

 Peter D. Kennedy | Shareholder
 Direct: (512) 480-5764 | Cell: (512) 964-1856
                           401 Congress Avenue, Suite 2700
                           Austin, Texas 78701
                           www.gdhm.com
       Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 162 of 215




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Friday, April 30, 2021 11:30 AM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>; Pete Kennedy <PKennedy@gdhm.com>
Subject: RE: Waterloo v. Treaty Oak

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BRAUNHAGEY & BORDEN             LLP

Direct: (415) 599-0219



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Sent: Friday, April 30, 2021 8:32 AM
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 163 of 215


To: Jeffrey Theodore <Theodore@braunhagey.com>; Kornfield, Susan
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Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
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Subject: RE: Waterloo v. Treaty Oak


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permanent injunction order, which does include a 90-day notice provision over a six month
period. This would be a permanent injunction that would include dismissal of all claims in the
case. We do not believe your client is entitled to any sort of advance notice provision, but our
client is willing to stipulate to entry of the attached for purposes of putting this matter to an
end.

Alternatively, our client is still willing to enter into the stipulated preliminary injunction order
in the form that I sent to you by email last Friday (as an attachment to my below email).

Justin

Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Bagdady, Justin
Sent: Friday, April 23, 2021 1:43 PM
To: 'Jeffrey Theodore' <Theodore@braunhagey.com>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: RE: Waterloo v. Treaty Oak

Jeff,

Attached is a copy of the injunction order that our client is prepared to agree to. As you will
see, this version does not include the 90-day notice provision that was in the version you last
circulated. Our client management team is still considering that concept and may be willing to
agree to something like that, but given that it is outside the scope of what is at issue in the case
and in our view is not something that Judge Pitman is likely to ever award even if your client
filed a motion and won it, they are still weighing whether to agree to something like that. As
discussed on our last call, it would be more palatable to our client if it applied mutually.
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 164 of 215


Susan and I are setting up another call with our client team for next week to discuss the notice
concept with them again. In the meantime, as noted above I can tell you that our clients are
willing to stipulate to entry of the attached order.

Justin


Justin P. Bagdady
734-930-2727
JBagdady@BODMANLAW.COM


bodman
ATTORNEYS & COUNSELORS




From: Jeffrey Theodore <Theodore@braunhagey.com>
Sent: Thursday, April 22, 2021 12:04 PM
To: Bagdady, Justin <JBagdady@BODMANLAW.COM>; Kornfield, Susan
<SKornfield@BODMANLAW.COM>
Cc: Noah Hagey <hagey@braunhagey.com>; Schneider, Heather <HSchneider@willkie.com>; Ryan
Botkin <ryan@wittliffcutter.com>
Subject: Waterloo v. Treaty Oak

Justin and Susan,

I write to follow up on our efforts to negotiate a stipulated preliminary injunction. We sent you our
latest draft ten days ago, spoke on the phone about it the day after that, and have sent you three
follow up emails since then but have not received any substantive response other than that you are
considering our proposal. We request that you respond to our proposal today so that we can reach
an agreement, if there is one to be reached, no later than Tuesday.

We have assiduously and patiently attempted to work with you her to avoid the need for motion
practice, but at this point we need to either come to an agreement or let the Court resolve the
matter. We appreciate your clients’ prompt attention to and focus on this so that we can conclude
our negotiations by Tuesday.

Regards,

Jeff


Jeffrey M. Theodore
BRAUNHAGEY & BORDEN                 LLP

Direct: (415) 599-0219

San Francisco (Main Office)
351 California Street, 10th Floor
San Francisco, CA 94104
      Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 165 of 215


Tel. & Fax: (415) 599-0210

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Tel. & Fax: (646) 829-9403

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that is subject to attorney-client, work product, joint defense and/or other legal privileges. If you are not the intended
recipient, please contact me immediately at the phone number listed above and permanently delete the original message and
any copies thereof from your email system. Thank you.
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 166 of 215




                   EXHIBIT 24
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 167 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 168 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 169 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 170 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 171 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 172 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 173 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 174 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 175 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 176 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 177 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 178 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 179 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 180 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 181 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 182 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 183 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 184 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 185 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 186 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 187 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 188 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 189 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 190 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 191 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 192 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 193 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 194 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 195 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 196 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 197 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 198 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 199 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 200 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 201 of 215




                   EXHIBIT 26
        Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 202 of 215




Reg. No. 6,003,279
Registered Mar. 03, 2020
Int. Cl.: 33
Trademark
Principal Register
   Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 203 of 215



    REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:




Requirements in Successive Ten-Year Periods*
What and When to File:




Grace Period Filings*




*ATTENTION MADRID PROTOCOL REGISTRANTS:




NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at


NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 204 of 215




                   EXHIBIT 27
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 205 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 206 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 207 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 208 of 215




                   EXHIBIT 28
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 209 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 210 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 211 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 212 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 213 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 214 of 215
Case 1:21-cv-00161-RP Document 17-1 Filed 05/04/21 Page 215 of 215
